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Matthew A. Feldman
Paul V. Shalhoub
Robin Spigel
Debra C. McElligott
WILLKIE FARR & GALLAGHER LLP
787 Seventh Avenue
New York, New York 10019
Telephone: (212) 728-8000
Facsimile: (212) 728-8111

Counsel for the Debtors and Debtors in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------x
In re:                                                 :     Chapter 11
                                                       :
SquareTwo Financial Services                           :     Case No. 17-10659 (JLG)
                       1
Corporation, et al.,                                   :
                                                       :     (Jointly Administered)
                           Debtors.                    :
-------------------------------------------------------x

                 NOTICE OF AMENDMENT TO SCHEDULE OF
      EXECUTORY CONTRACTS AND UNEXPIRED LEASES TO BE ASSUMED
       OR ASSUMED AND ASSIGNED AND CURE AMOUNTS IN CONNECTION
        WITH JOINT PREPACKAGED CHAPTER 11 PLAN FOR SQUARETWO
      FINANCIAL SERVICES CORPORATION AND ITS AFFILIATED DEBTORS

                PLEASE TAKE NOTICE that on March 19, 2017, the debtors and debtors in
possession in the above-captioned cases (collectively, the “Debtors”) filed the Joint
Prepackaged Chapter 11 Plan for SquareTwo Financial Services Corporation and Its Affiliated
Debtors [Docket No. 20] (as the same may be amended, modified, and/or supplemented from
time to time, the “Plan”).2



1
        The Debtors in these chapter 11 cases and the last four digits of each Debtor’s federal taxpayer
        identification number and/or Canadian equivalent are as follows: Astrum Financial, LLC (2265); Autus,
        LLC (2736); CA Internet Marketing, LLC (7434); CACH, LLC d/b/a Fresh View Funding (6162); CACV
        of Colorado, LLC (3409); CACV of New Jersey, LLC (3499); Candeo, LLC (2809); CCL Financial Inc.
        (7548); Collect Air, LLC (7987); Collect America of Canada, LLC (7137); Healthcare Funding Solutions,
        LLC (2985); Metropolitan Legal Administration Services, Inc. (6811); Orsa, LLC (2864); Preferred Credit
        Resources Limited (0637); ReFinance America, Ltd. (4359); SquareTwo Financial Canada Corporation
        (EIN: 1034; BN: 0174); SquareTwo Financial Corporation (1849); and SquareTwo Financial Services
        Corporation d/b/a Fresh View Solutions (5554). The Debtors’ executive headquarters are located at 6300
        South Syracuse Way, Suite 300, Centennial, CO 80111.

2
        Capitalized terms used but not defined herein have the meanings given to them in the Plan.
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               PLEASE TAKE FURTHER NOTICE that on March 27, 2017, the Debtors filed
the Schedule of Assumed Contracts and Leases and corresponding Cure Amounts contemplated
by Section 10.1 of the Plan [Docket No. 77] (as may be amended, modified and/or supplemented
from time to time, the “Assumption and Cure Schedule”).3 On April 14, 2017 and April 27,
2017, the Debtors filed supplements to the Assumption and Cure Schedule [Docket Nos. 128,
162 and 163].

               PLEASE TAKE FURTHER NOTICE that, as set forth on the previously filed and
served notices to the Assumption and Cure Schedule [Docket Nos. 77, 128, 162 and 163], the
Debtors reserved the right to add or remove any contracts and leases from the Assumption and
Cure Schedule.

                PLEASE TAKE FURTHER NOTICE that attached hereto as Exhibit A is a
list of those executory contracts and unexpired leases that the Debtors have (as required by
the Plan Investor) removed from the Assumption and Cure Schedule.

               PLEASE TAKE FURTHER NOTICE that, as of and subject to the occurrence of
the Effective Date and the payment of any applicable Cure Amount (i) by the Plan Investor, the
Debtors anticipate that the Assumed Contracts or Leases listed on the attached Exhibit B will be
assumed or assumed and assigned by and/or to an Acquired Debtor;4 or (ii) by SquareTwo
Financial Corporation, the Debtors anticipate that the Assumed Contracts or Leases listed on the
attached Exhibit C will be assumed or assumed and assigned by a Dissolving Debtor and/or to
SquareTwo Financial Corporation (also a Dissolving Debtor). None of the Assumed Contracts
and Leases listed on the attached Exhibit C will be assigned to an Acquired Debtor.

               PLEASE TAKE FURTHER NOTICE that, pursuant to Section 10.1 of the Plan,
all executory contracts and unexpired leases to which any U.S. Debtor is a party that are not
included on the Schedule of Assumed Contracts and Leases (as reflected in the Assumption and
Cure Schedule) on the Effective Date shall be deemed rejected.

               PLEASE TAKE FURTHER NOTICE that Exhibits B and C reflect the
cumulative Assumption and Cure Schedule as of the date hereof. The counterparties to the
contracts and leases listed therein previously received notice of the proposed assumption or
assumption and assignment as well as the deadline to object thereto. This notice is not intended
to and does not re-start the objection period. Although revised copies of the Assumption and
Cure Schedule are annexed hereto and reflect the removal of the executory contracts and
unexpired leases listed on Exhibit A, no other changes to the Assumption and Cure
Schedule are made hereby to such schedule.

3
       Notwithstanding anything contained herein to the contrary: (i) any executory contracts and unexpired
       leases that previously have been assumed, assumed and assigned, or rejected pursuant to a Final Order of
       the Bankruptcy Court shall be treated as provided in such Final Order; and (ii) all executory contracts and
       unexpired leases that are the subject of a separate motion to assume or reject under section 365 of the
       Bankruptcy Code pending on the Effective Date shall be treated as provided in a Final Order of the
       Bankruptcy Court resolving such motion.

4
       The “Acquired Debtors” are the Canadian Debtors, CACH, LLC (d/b/a Fresh View Funding) and CACV of
       Colorado, LLC (and any of their respective successors).

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                PLEASE TAKE FURTHER NOTICE that the applicable Debtor’s decision to
assume (and, if applicable, assign) the Assumed Contracts and Leases is subject to the
Bankruptcy Court’s approval and confirmation of the Plan and occurrence of the Effective Date.
Absent confirmation of the Plan and occurrence of the Effective Date, no Assumed Contract or
Lease shall be deemed assumed (or if applicable, assumed and assigned) under the Plan and shall
in all respects be subject to further administration under the Bankruptcy Code. The designation
of any agreement as an Assumed Contract or Lease shall not constitute or be deemed to be a
determination or admission by the Debtors that such agreement is, in fact, an executory contract
or unexpired lease within the meaning of section 365 of the Bankruptcy Code (all rights with
respect thereto being expressly reserved).

               PLEASE TAKE FURTHER NOTICE that the Debtors reserve all rights to add or
remove any contracts and leases from the Assumption and Cure Schedule. In such event, the
Debtors shall promptly send a notice to the applicable counterparty to such contract or lease of
such decision.

               PLEASE TAKE FURTHER NOTICE that the Debtors reserve all rights to
amend, revise or supplement any documents relating to the Plan and/or to be executed, delivered,
assumed, assumed and assigned, and/or performed in connection with the consummation of the
Plan on the Effective Date including as required by the Plan Investor under the Plan Funding
Agreement and including Exhibits B and/or C hereto.

Dated: May 2, 2017
       New York, New York
                                       WILLKIE FARR & GALLAGHER LLP
                                       Counsel for the Debtors and Debtors in Possession



                                        By: /s/ Paul V. Shalhoub
                                           Matthew A. Feldman
                                           Paul V. Shalhoub
                                           Robin Spigel
                                           Debra C. McElligott

                                             787 Seventh Avenue
                                             New York, New York 10019
                                             Telephone: (212) 728-8000
                                             Facsimile: (212) 728-8111




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                                      EXHIBIT A

               List of Contracts Removed from Assumption and Cure Schedule
                                        17-10659-jlg       Doc 190        Filed 05/02/17    Entered 05/02/17 14:54:56     Main Document
                    Exhibit A: Contracts Removed from Schedule of Assumed
                                                                  Pg 5 of 49 Contracts and Leases and Cure Amounts

                                                                                                                                               Type of Agreement and
           Contract Counterparty                             Address                  Additional Notice Address(es)         Debtor
                                                                                                                                               Contract Date (if known)
                                                                                  FIRST NATIONAL BANK OF OMAHA
                                                First National Bank of Omaha                                                                   Forward Flow Debt Sale
                                                                                  First Bankcard Legal
 FIRST NATIONAL BANK OF OMAHA                   1620 Dodge Street                                                          CACH, LLC           Agreement (Commercial
                                                                                  1620 Dodge Street
                                                Omaha, NE 68197                                                                                 Accounts) 01/22/2016
                                                                                  Omaha, NE 68197
                                                                                  FIRST NATIONAL BANK OF OMAHA
                                                First National Bank of Omaha
                                                                                  First Bankcard Legal                                          Forward Flow Debt Sale
 FIRST NATIONAL BANK OF OMAHA                   1620 Dodge Street                                                          CACH, LLC
                                                                                  1620 Dodge Street                                          Agreement Dated 01/22/2016
                                                Omaha, NE 68197
                                                                                  Omaha, NE 68197
                                                LENDINGCLUB CORPORATION
                                                                                                                                                Forward Flow- Account
                                                President
 LENDINGCLUB CORPORATION                                                                                                   CACH, LLC          Purchase Agreement Dated
                                                71 Stevenson St., Suite 300
                                                                                                                                                     05/10/2016
                                                San Franciso, CA 94105
                                                MARLETTE FUNDING, LLC.
                                                Alex Rhodes                                                                                     Forward Flow Account
 MARLETTE FUNDING, LLC.                         1523 Concord Pike                                                          CACH, LLC          Purchase Agreement Dated
                                                Suite 201                                                                                            05/27/2016
                                                Wilmington, DE 19803
                                                                                                                      SquareTwo Financial
                                                PITNEY BOWES GLOBAL FINANCIAL
                                                                                                                      Services Corporation
 PITNEY BOWES GLOBAL FINANCIAL                  2225 AMERICA DRIVE                                                                                Office Agreement
                                                                                                                        d/b/a Fresh View
                                                NEENAH, WI 54956
                                                                                                                            Solutions
                                                Prosper Funding,LLC               Prosper Funding,LLC
                                                General Counsel                   Aaron Vermot, CEO
                                                                                                                                             Purchase And Sale Agreement
 PROSPER FUNDING, LLC                           221 Main Street                   221 Main Street                          CACH, LLC
                                                                                                                                                  Dated 06/15/2015
                                                3rd Floor                         3rd Floor
                                                San Francisco, CA 94105           San Francisco, CA 94105




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                                     EXHIBIT B

                            Assumption and Cure Schedule
                   (Contracts and leases anticipated to be assumed or
                assumed and assigned by and/or to an Acquired Debtor)
                                                  17-10659-jlg Doc 190 Filed 05/02/17 Entered 05/02/17 14:54:56 Main Document
                                                         Exhibit B: Schedule of Assumed Contracts
                                                                                          Pg 7 ofand
                                                                                                  49 Leases and Cure Amounts
                                                                                  Acquired Debtors
                                                                                                                                                                   Monetary
           Contract Counterparty                                        Address          Additional Notice Address(es)    Debtor        Proposed Assignee
                                                                                                                                                                  Cure Amount
                                                  Avant II, LLC et al
                                                  640 N. LaSalle Dr.
AVANT II, LLC                                                                                                            CACH, LLC   Sherman Originator III LLC      $0.00
                                                  Suite #535
                                                  Chicago, IL 60654
                                                  Avant II, LLC et al
                                                  640 N. LaSalle Dr.
AVANT LOANS FUNDING TRUST 2015-A                                                                                         CACH, LLC   Sherman Originator III LLC      $0.00
                                                  Suite #535
                                                  Chicago, IL 60654
                                                  Avant II, LLC et al
                                                  640 N. LaSalle Dr.
AVANT OF CALIFORNIA, LLC                                                                                                 CACH, LLC   Sherman Originator III LLC      $0.00
                                                  Suite #535
                                                  Chicago, IL 60654
                                                  Avant II, LLC et al
                                                  640 N. LaSalle Dr.
AVANT OF COLORADO, LLC                                                                                                   CACH, LLC   Sherman Originator III LLC      $0.00
                                                  Suite #535
                                                  Chicago, IL 60654
                                                  Avant II, LLC et al
                                                  640 N. LaSalle Dr.
AVANT OF GEORGIA, LLC                                                                                                    CACH, LLC   Sherman Originator III LLC      $0.00
                                                  Suite #535
                                                  Chicago, IL 60654
                                                  Avant II, LLC et al
                                                  640 N. LaSalle Dr.
AVANT OF IDAHO, LLC                                                                                                      CACH, LLC   Sherman Originator III LLC      $0.00
                                                  Suite #535
                                                  Chicago, IL 60654
                                                  Avant II, LLC et al
                                                  640 N. LaSalle Dr.
AVANT OF ILLINOIS, LLC                                                                                                   CACH, LLC   Sherman Originator III LLC      $0.00
                                                  Suite #535
                                                  Chicago, IL 60654
                                                  Avant II, LLC et al
                                                  640 N. LaSalle Dr.
AVANT OF KANSAS, LLC                                                                                                     CACH, LLC   Sherman Originator III LLC      $0.00
                                                  Suite #535
                                                  Chicago, IL 60654
                                                  Avant II, LLC et al
                                                  640 N. LaSalle Dr.
AVANT OF LOUISIANA, LLC                                                                                                  CACH, LLC   Sherman Originator III LLC      $0.00
                                                  Suite #535
                                                  Chicago, IL 60654
                                                  Avant II, LLC et al
                                                  640 N. LaSalle Dr.
AVANT OF MISSOURI, LLC                                                                                                   CACH, LLC   Sherman Originator III LLC      $0.00
                                                  Suite #535
                                                  Chicago, IL 60654
                                                  Avant II, LLC et al
                                                  640 N. LaSalle Dr.
AVANT OF NEVADA, LLC                                                                                                     CACH, LLC   Sherman Originator III LLC      $0.00
                                                  Suite #535
                                                  Chicago, IL 60654

In re: SquareTwo Financial Services Corporation, et al.
Case No. 17-10659 (JLG)                                                              Page 1 of 32
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                                                         Exhibit B: Schedule of Assumed Contracts
                                                                                          Pg 8 ofand
                                                                                                  49 Leases and Cure Amounts
                                                                                  Acquired Debtors
                                                                                                                                                                   Monetary
           Contract Counterparty                                        Address          Additional Notice Address(es)    Debtor        Proposed Assignee
                                                                                                                                                                  Cure Amount
                                                  Avant II, LLC et al
                                                  640 N. LaSalle Dr.
AVANT OF OREGON, LLC                                                                                                     CACH, LLC   Sherman Originator III LLC      $0.00
                                                  Suite #535
                                                  Chicago, IL 60654
                                                  Avant II, LLC et al
                                                  640 N. LaSalle Dr.
AVANT OF TEXAS, LLC                                                                                                      CACH, LLC   Sherman Originator III LLC      $0.00
                                                  Suite #535
                                                  Chicago, IL 60654
                                                  Avant II, LLC et al
                                                  640 N. LaSalle Dr.
AVANT OF UTAH, LLC                                                                                                       CACH, LLC   Sherman Originator III LLC      $0.00
                                                  Suite #535
                                                  Chicago, IL 60654
                                                  Avant II, LLC et al
                                                  640 N. LaSalle Dr.
AVANT OF WISCONSIN, LLC.                                                                                                 CACH, LLC   Sherman Originator III LLC      $0.00
                                                  Suite #535
                                                  Chicago, IL 60654
                                                  Avant II, LLC et al
                                                  640 N. LaSalle Dr.
AVANT, INC.                                                                                                              CACH, LLC   Sherman Originator III LLC      $0.00
                                                  Suite #535
                                                  Chicago, IL 60654
                                                  Avant II, LLC et al
                                                  640 N. LaSalle Dr.
AVANTCREDIT II, LLC                                                                                                      CACH, LLC   Sherman Originator III LLC      $0.00
                                                  Suite #535
                                                  Chicago, IL 60654
                                                  Avant II, LLC et al
                                                  640 N. LaSalle Dr.
AVANTCREDIT IV TRUST                                                                                                     CACH, LLC   Sherman Originator III LLC      $0.00
                                                  Suite #535
                                                  Chicago, IL 60654
                                                  Avant II, LLC et al
                                                  640 N. LaSalle Dr.
AVANTCREDIT OF ALABAMA, LLC                                                                                              CACH, LLC   Sherman Originator III LLC      $0.00
                                                  Suite #535
                                                  Chicago, IL 60654
                                                  Avant II, LLC et al
                                                  640 N. LaSalle Dr.
AVANTCREDIT OF CALIFORNIA, LLC                                                                                           CACH, LLC   Sherman Originator III LLC      $0.00
                                                  Suite #535
                                                  Chicago, IL 60654
                                                  Avant II, LLC et al
                                                  640 N. LaSalle Dr.
AVANTCREDIT OF COLORADO, LLC                                                                                             CACH, LLC   Sherman Originator III LLC      $0.00
                                                  Suite #535
                                                  Chicago, IL 60654
                                                  Avant II, LLC et al
                                                  640 N. LaSalle Dr.
AVANTCREDIT OF DELAWARE, LLC                                                                                             CACH, LLC   Sherman Originator III LLC      $0.00
                                                  Suite #535
                                                  Chicago, IL 60654

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                                                         Exhibit B: Schedule of Assumed Contracts
                                                                                          Pg 9 ofand
                                                                                                  49 Leases and Cure Amounts
                                                                                  Acquired Debtors
                                                                                                                                                                   Monetary
           Contract Counterparty                                        Address          Additional Notice Address(es)    Debtor        Proposed Assignee
                                                                                                                                                                  Cure Amount
                                                  Avant II, LLC et al
                                                  640 N. LaSalle Dr.
AVANTCREDIT OF GEORGIA, LLC                                                                                              CACH, LLC   Sherman Originator III LLC      $0.00
                                                  Suite #535
                                                  Chicago, IL 60654
                                                  Avant II, LLC et al
                                                  640 N. LaSalle Dr.
AVANTCREDIT OF IDAHO, LLC                                                                                                CACH, LLC   Sherman Originator III LLC      $0.00
                                                  Suite #535
                                                  Chicago, IL 60654
                                                  Avant II, LLC et al
                                                  640 N. LaSalle Dr.
AVANTCREDIT OF ILLINOIS, LLC                                                                                             CACH, LLC   Sherman Originator III LLC      $0.00
                                                  Suite #535
                                                  Chicago, IL 60654
                                                  Avant II, LLC et al
                                                  640 N. LaSalle Dr.
AVANTCREDIT OF LOUISIANA, LLC                                                                                            CACH, LLC   Sherman Originator III LLC      $0.00
                                                  Suite #535
                                                  Chicago, IL 60654
                                                  Avant II, LLC et al
                                                  640 N. LaSalle Dr.
AVANTCREDIT OF MISSOURI, LLC                                                                                             CACH, LLC   Sherman Originator III LLC      $0.00
                                                  Suite #535
                                                  Chicago, IL 60654
                                                  Avant II, LLC et al
                                                  640 N. LaSalle Dr.
AVANTCREDIT OF NEVADA, LLC                                                                                               CACH, LLC   Sherman Originator III LLC      $0.00
                                                  Suite #535
                                                  Chicago, IL 60654
                                                  Avant II, LLC et al
                                                  640 N. LaSalle Dr.
AVANTCREDIT OF NEW MEXICO, LLC                                                                                           CACH, LLC   Sherman Originator III LLC      $0.00
                                                  Suite #535
                                                  Chicago, IL 60654
                                                  Avant II, LLC et al
                                                  640 N. LaSalle Dr.
AVANTCREDIT OF OREGON, LLC                                                                                               CACH, LLC   Sherman Originator III LLC      $0.00
                                                  Suite #535
                                                  Chicago, IL 60654
                                                  Avant II, LLC et al
                                                  640 N. LaSalle Dr.
AVANTCREDIT OF SOUTH CAROLINA, LLC                                                                                       CACH, LLC   Sherman Originator III LLC      $0.00
                                                  Suite #535
                                                  Chicago, IL 60654
                                                  Avant II, LLC et al
                                                  640 N. LaSalle Dr.
AVANTCREDIT OF SOUTH DAKOTA, LLC                                                                                         CACH, LLC   Sherman Originator III LLC      $0.00
                                                  Suite #535
                                                  Chicago, IL 60654
                                                  Avant II, LLC et al
                                                  640 N. LaSalle Dr.
AVANTCREDIT OF TEXAS, LLC                                                                                                CACH, LLC   Sherman Originator III LLC      $0.00
                                                  Suite #535
                                                  Chicago, IL 60654

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                                                         Exhibit B: Schedule of Assumed Contracts
                                                                                          Pg 10 ofand
                                                                                                    49Leases and Cure Amounts
                                                                                      Acquired Debtors
                                                                                                                                                                                  Monetary
           Contract Counterparty                                   Address                     Additional Notice Address(es)        Debtor             Proposed Assignee
                                                                                                                                                                                 Cure Amount
                                  Avant II, LLC et al
                                  640 N. LaSalle Dr.
AVANTCREDIT OF UTAH, LLC                                                                                                          CACH, LLC         Sherman Originator III LLC      $0.00
                                  Suite #535
                                  Chicago, IL 60654
                                  Avant II, LLC et al
                                  640 N. LaSalle Dr.
AVANTCREDIT OF VIRGINIA, LLC                                                                                                      CACH, LLC         Sherman Originator III LLC      $0.00
                                  Suite #535
                                  Chicago, IL 60654
                                  Avant II, LLC et al
                                  640 N. LaSalle Dr.
AVANTCREDIT OF WISCONSIN, LLC                                                                                                     CACH, LLC         Sherman Originator III LLC      $0.00
                                  Suite #535
                                  Chicago, IL 60654
                                  AVIVA INSURANCE COMPANY OF CANADA
                                  90 EGLINTON AVE WEST
AVIVA INSURANCE COMPANY OF CANADA                                                                                              CCL Financial Inc.              N/A                  $0.00
                                  TORONTO, ON M4R 2E4
                                  CANADA

                                                                                     BANK OF AMERICA, N.A. COMMERCIAL
                                                                                     Diane Timmons, Asst. Gen. Counsel
                                                                                     901 Main Street, 15th Floor
                                                                                     TX1-492-15-03
                                                                                     Dallas, TX 75202
                                                  BANK OF AMERICA, N.A. COMMERCIAL
                                                  101 N. Tryon Street, 8th Floor     and
BANK OF AMERICA, N.A. COMMERCIAL                                                                                                  CACH, LLC         Sherman Originator III LLC      $0.00
                                                  NC1-001-08-25
                                                  Charlotte, NC 28255                Bank of America, N.A.
                                                                                     Tamara J. Laughinhouse
                                                                                     Asset Sales Management Group
                                                                                     101 N. Tryon Street, 8th Floor
                                                                                     NC1-001-08-25
                                                                                     Charlotte, NC 28255




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                                                         Exhibit B: Schedule of Assumed Contracts
                                                                                          Pg 11 ofand
                                                                                                    49Leases and Cure Amounts
                                                                                      Acquired Debtors
                                                                                                                                                                         Monetary
           Contract Counterparty                                   Address                     Additional Notice Address(es)    Debtor        Proposed Assignee
                                                                                                                                                                        Cure Amount

                                                                                     BANK OF AMERICA, N.A. COMMERCIAL
                                                                                     Diane Timmons, Asst. Gen. Counsel
                                                                                     901 Main Street, 15th Floor
                                                                                     TX1-492-15-03
                                                                                     Dallas, TX 75202
                                                  BANK OF AMERICA, N.A. COMMERCIAL
                                                  101 N. Tryon Street, 8th Floor     and
BANK OF AMERICA, N.A. COMMERCIAL                                                                                               CACH, LLC   Sherman Originator III LLC      $0.00
                                                  NC1-001-08-25
                                                  Charlotte, NC 28255                Bank of America, N.A.
                                                                                     Tamara J. Laughinhouse
                                                                                     Asset Sales Management Group
                                                                                     101 N. Tryon Street, 8th Floor
                                                                                     NC1-001-08-25
                                                                                     Charlotte, NC 28255


                                                                                     BANK OF AMERICA, N.A. COMMERCIAL
                                                                                     Diane Timmons, Asst. Gen. Counsel
                                                                                     901 Main Street, 15th Floor
                                                                                     TX1-492-15-03
                                                                                     Dallas, TX 75202
                                                  BANK OF AMERICA, N.A. COMMERCIAL
                                                  101 N. Tryon Street, 8th Floor     and
BANK OF AMERICA, N.A. COMMERCIAL                                                                                               CACH, LLC   Sherman Originator III LLC      $0.00
                                                  NC1-001-08-25
                                                  Charlotte, NC 28255                Bank of America, N.A.
                                                                                     Tamara J. Laughinhouse
                                                                                     Asset Sales Management Group
                                                                                     101 N. Tryon Street, 8th Floor
                                                                                     NC1-001-08-25
                                                                                     Charlotte, NC 28255




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                                                         Exhibit B: Schedule of Assumed Contracts
                                                                                          Pg 12 ofand
                                                                                                    49Leases and Cure Amounts
                                                                                      Acquired Debtors
                                                                                                                                                                         Monetary
           Contract Counterparty                                   Address                     Additional Notice Address(es)    Debtor        Proposed Assignee
                                                                                                                                                                        Cure Amount

                                                                                     BANK OF AMERICA, N.A. COMMERCIAL
                                                                                     Diane Timmons, Asst. Gen. Counsel
                                                                                     901 Main Street, 15th Floor
                                                                                     TX1-492-15-03
                                                                                     Dallas, TX 75202
                                                  BANK OF AMERICA, N.A. COMMERCIAL
                                                  101 N. Tryon Street, 8th Floor     and
BANK OF AMERICA, N.A. COMMERCIAL                                                                                               CACH, LLC   Sherman Originator III LLC      $0.00
                                                  NC1-001-08-25
                                                  Charlotte, NC 28255                Bank of America, N.A.
                                                                                     Tamara J. Laughinhouse
                                                                                     Asset Sales Management Group
                                                                                     101 N. Tryon Street, 8th Floor
                                                                                     NC1-001-08-25
                                                                                     Charlotte, NC 28255


                                                                                     BANK OF AMERICA, N.A. COMMERCIAL
                                                                                     Diane Timmons, Asst. Gen. Counsel
                                                                                     901 Main Street, 15th Floor
                                                                                     TX1-492-15-03
                                                                                     Dallas, TX 75202
                                                  BANK OF AMERICA, N.A. COMMERCIAL
                                                  101 N. Tryon Street, 8th Floor     and
BANK OF AMERICA, N.A. COMMERCIAL                                                                                               CACH, LLC   Sherman Originator III LLC      $0.00
                                                  NC1-001-08-25
                                                  Charlotte, NC 28255                Bank of America, N.A.
                                                                                     Tamara J. Laughinhouse
                                                                                     Asset Sales Management Group
                                                                                     101 N. Tryon Street, 8th Floor
                                                                                     NC1-001-08-25
                                                                                     Charlotte, NC 28255




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                                                  17-10659-jlg Doc 190 Filed 05/02/17 Entered 05/02/17 14:54:56 Main Document
                                                         Exhibit B: Schedule of Assumed Contracts
                                                                                          Pg 13 ofand
                                                                                                    49Leases and Cure Amounts
                                                                                      Acquired Debtors
                                                                                                                                                                         Monetary
           Contract Counterparty                                   Address                     Additional Notice Address(es)    Debtor        Proposed Assignee
                                                                                                                                                                        Cure Amount

                                                                                     BANK OF AMERICA, N.A. COMMERCIAL
                                                                                     Diane Timmons, Asst. Gen. Counsel
                                                                                     901 Main Street, 15th Floor
                                                                                     TX1-492-15-03
                                                                                     Dallas, TX 75202
                                                  BANK OF AMERICA, N.A. COMMERCIAL
                                                  101 N. Tryon Street, 8th Floor     and
BANK OF AMERICA, N.A. COMMERCIAL                                                                                               CACH, LLC   Sherman Originator III LLC      $0.00
                                                  NC1-001-08-25
                                                  Charlotte, NC 28255                Bank of America, N.A.
                                                                                     Tamara J. Laughinhouse
                                                                                     Asset Sales Management Group
                                                                                     101 N. Tryon Street, 8th Floor
                                                                                     NC1-001-08-25
                                                                                     Charlotte, NC 28255


                                                                                     BANK OF AMERICA, N.A. COMMERCIAL
                                                                                     Diane Timmons, Asst. Gen. Counsel
                                                                                     901 Main Street, 15th Floor
                                                                                     TX1-492-15-03
                                                                                     Dallas, TX 75202
                                                  BANK OF AMERICA, N.A. COMMERCIAL
                                                  101 N. Tryon Street, 8th Floor     and
BANK OF AMERICA, N.A. COMMERCIAL                                                                                               CACH, LLC   Sherman Originator III LLC      $0.00
                                                  NC1-001-08-25
                                                  Charlotte, NC 28255                Bank of America, N.A.
                                                                                     Tamara J. Laughinhouse
                                                                                     Asset Sales Management Group
                                                                                     101 N. Tryon Street, 8th Floor
                                                                                     NC1-001-08-25
                                                                                     Charlotte, NC 28255




In re: SquareTwo Financial Services Corporation, et al.
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                                                         Exhibit B: Schedule of Assumed Contracts
                                                                                          Pg 14 ofand
                                                                                                    49Leases and Cure Amounts
                                                                                      Acquired Debtors
                                                                                                                                                                         Monetary
           Contract Counterparty                                   Address                     Additional Notice Address(es)    Debtor        Proposed Assignee
                                                                                                                                                                        Cure Amount

                                                                                     BANK OF AMERICA, N.A. COMMERCIAL
                                                                                     Diane Timmons, Asst. Gen. Counsel
                                                                                     901 Main Street, 15th Floor
                                                                                     TX1-492-15-03
                                                                                     Dallas, TX 75202
                                                  BANK OF AMERICA, N.A. COMMERCIAL
                                                  101 N. Tryon Street, 8th Floor     and
BANK OF AMERICA, N.A. COMMERCIAL                                                                                               CACH, LLC   Sherman Originator III LLC      $0.00
                                                  NC1-001-08-25
                                                  Charlotte, NC 28255                Bank of America, N.A.
                                                                                     Tamara J. Laughinhouse
                                                                                     Asset Sales Management Group
                                                                                     101 N. Tryon Street, 8th Floor
                                                                                     NC1-001-08-25
                                                                                     Charlotte, NC 28255


                                                                                     BANK OF AMERICA, N.A. COMMERCIAL
                                                                                     Diane Timmons, Asst. Gen. Counsel
                                                                                     901 Main Street, 15th Floor
                                                                                     TX1-492-15-03
                                                                                     Dallas, TX 75202
                                                  BANK OF AMERICA, N.A. COMMERCIAL
                                                  101 N. Tryon Street, 8th Floor     and
BANK OF AMERICA, N.A. COMMERCIAL                                                                                               CACH, LLC   Sherman Originator III LLC      $0.00
                                                  NC1-001-08-25
                                                  Charlotte, NC 28255                Bank of America, N.A.
                                                                                     Tamara J. Laughinhouse
                                                                                     Asset Sales Management Group
                                                                                     101 N. Tryon Street, 8th Floor
                                                                                     NC1-001-08-25
                                                                                     Charlotte, NC 28255




In re: SquareTwo Financial Services Corporation, et al.
Case No. 17-10659 (JLG)                                                                    Page 8 of 32
                                                  17-10659-jlg Doc 190 Filed 05/02/17 Entered 05/02/17 14:54:56 Main Document
                                                         Exhibit B: Schedule of Assumed Contracts
                                                                                          Pg 15 ofand
                                                                                                    49Leases and Cure Amounts
                                                                                      Acquired Debtors
                                                                                                                                                                         Monetary
           Contract Counterparty                                   Address                     Additional Notice Address(es)    Debtor        Proposed Assignee
                                                                                                                                                                        Cure Amount

                                                                                     BANK OF AMERICA, N.A. COMMERCIAL
                                                                                     Diane Timmons, Asst. Gen. Counsel
                                                                                     901 Main Street, 15th Floor
                                                                                     TX1-492-15-03
                                                                                     Dallas, TX 75202
                                                  BANK OF AMERICA, N.A. COMMERCIAL
                                                  101 N. Tryon Street, 8th Floor     and
BANK OF AMERICA, N.A. COMMERCIAL                                                                                               CACH, LLC   Sherman Originator III LLC      $0.00
                                                  NC1-001-08-25
                                                  Charlotte, NC 28255                Bank of America, N.A.
                                                                                     Tamara J. Laughinhouse
                                                                                     Asset Sales Management Group
                                                                                     101 N. Tryon Street, 8th Floor
                                                                                     NC1-001-08-25
                                                                                     Charlotte, NC 28255


                                                                                     BANK OF AMERICA, N.A. COMMERCIAL
                                                                                     Diane Timmons, Asst. Gen. Counsel
                                                                                     901 Main Street, 15th Floor
                                                                                     TX1-492-15-03
                                                                                     Dallas, TX 75202
                                                  BANK OF AMERICA, N.A. COMMERCIAL
                                                  101 N. Tryon Street, 8th Floor     and
BANK OF AMERICA, N.A. COMMERCIAL                                                                                               CACH, LLC   Sherman Originator III LLC      $0.00
                                                  NC1-001-08-25
                                                  Charlotte, NC 28255                Bank of America, N.A.
                                                                                     Tamara J. Laughinhouse
                                                                                     Asset Sales Management Group
                                                                                     101 N. Tryon Street, 8th Floor
                                                                                     NC1-001-08-25
                                                                                     Charlotte, NC 28255




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                                                         Exhibit B: Schedule of Assumed Contracts
                                                                                          Pg 16 ofand
                                                                                                    49Leases and Cure Amounts
                                                                                      Acquired Debtors
                                                                                                                                                                         Monetary
           Contract Counterparty                                   Address                     Additional Notice Address(es)    Debtor        Proposed Assignee
                                                                                                                                                                        Cure Amount

                                                                                     BANK OF AMERICA, N.A. COMMERCIAL
                                                                                     Diane Timmons, Asst. Gen. Counsel
                                                                                     901 Main Street, 15th Floor
                                                                                     TX1-492-15-03
                                                                                     Dallas, TX 75202
                                                  BANK OF AMERICA, N.A. COMMERCIAL
                                                  101 N. Tryon Street, 8th Floor     and
BANK OF AMERICA, N.A. COMMERCIAL                                                                                               CACH, LLC   Sherman Originator III LLC      $0.00
                                                  NC1-001-08-25
                                                  Charlotte, NC 28255                Bank of America, N.A.
                                                                                     Tamara J. Laughinhouse
                                                                                     Asset Sales Management Group
                                                                                     101 N. Tryon Street, 8th Floor
                                                                                     NC1-001-08-25
                                                                                     Charlotte, NC 28255


                                                                                     BANK OF AMERICA, N.A. COMMERCIAL
                                                                                     Diane Timmons, Asst. Gen. Counsel
                                                                                     901 Main Street, 15th Floor
                                                                                     TX1-492-15-03
                                                                                     Dallas, TX 75202
                                                  BANK OF AMERICA, N.A. COMMERCIAL
                                                  101 N. Tryon Street, 8th Floor     and
BANK OF AMERICA, N.A. COMMERCIAL                                                                                               CACH, LLC   Sherman Originator III LLC      $0.00
                                                  NC1-001-08-25
                                                  Charlotte, NC 28255                Bank of America, N.A.
                                                                                     Tamara J. Laughinhouse
                                                                                     Asset Sales Management Group
                                                                                     101 N. Tryon Street, 8th Floor
                                                                                     NC1-001-08-25
                                                                                     Charlotte, NC 28255




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                                                         Exhibit B: Schedule of Assumed Contracts
                                                                                          Pg 17 ofand
                                                                                                    49Leases and Cure Amounts
                                                                                      Acquired Debtors
                                                                                                                                                                         Monetary
           Contract Counterparty                                   Address                     Additional Notice Address(es)    Debtor        Proposed Assignee
                                                                                                                                                                        Cure Amount

                                                                                     BANK OF AMERICA, N.A. COMMERCIAL
                                                                                     Diane Timmons, Asst. Gen. Counsel
                                                                                     901 Main Street, 15th Floor
                                                                                     TX1-492-15-03
                                                                                     Dallas, TX 75202
                                                  BANK OF AMERICA, N.A. COMMERCIAL
                                                  101 N. Tryon Street, 8th Floor     and
BANK OF AMERICA, N.A. COMMERCIAL                                                                                               CACH, LLC   Sherman Originator III LLC      $0.00
                                                  NC1-001-08-25
                                                  Charlotte, NC 28255                Bank of America, N.A.
                                                                                     Tamara J. Laughinhouse
                                                                                     Asset Sales Management Group
                                                                                     101 N. Tryon Street, 8th Floor
                                                                                     NC1-001-08-25
                                                                                     Charlotte, NC 28255


                                                                                     BANK OF AMERICA, N.A. COMMERCIAL
                                                                                     Diane Timmons, Asst. Gen. Counsel
                                                                                     901 Main Street, 15th Floor
                                                                                     TX1-492-15-03
                                                                                     Dallas, TX 75202
                                                  BANK OF AMERICA, N.A. COMMERCIAL
                                                  101 N. Tryon Street, 8th Floor     and
BANK OF AMERICA, N.A. COMMERCIAL                                                                                               CACH, LLC   Sherman Originator III LLC      $0.00
                                                  NC1-001-08-25
                                                  Charlotte, NC 28255                Bank of America, N.A.
                                                                                     Tamara J. Laughinhouse
                                                                                     Asset Sales Management Group
                                                                                     101 N. Tryon Street, 8th Floor
                                                                                     NC1-001-08-25
                                                                                     Charlotte, NC 28255




In re: SquareTwo Financial Services Corporation, et al.
Case No. 17-10659 (JLG)                                                                    Page 11 of 32
                                                  17-10659-jlg Doc 190 Filed 05/02/17 Entered 05/02/17 14:54:56 Main Document
                                                         Exhibit B: Schedule of Assumed Contracts
                                                                                          Pg 18 ofand
                                                                                                    49Leases and Cure Amounts
                                                                                      Acquired Debtors
                                                                                                                                                                         Monetary
           Contract Counterparty                                   Address                     Additional Notice Address(es)    Debtor        Proposed Assignee
                                                                                                                                                                        Cure Amount

                                                                                     BANK OF AMERICA, N.A. COMMERCIAL
                                                                                     Diane Timmons, Asst. Gen. Counsel
                                                                                     901 Main Street, 15th Floor
                                                                                     TX1-492-15-03
                                                                                     Dallas, TX 75202
                                                  BANK OF AMERICA, N.A. COMMERCIAL
                                                  101 N. Tryon Street, 8th Floor     and
BANK OF AMERICA, N.A. COMMERCIAL                                                                                               CACH, LLC   Sherman Originator III LLC      $0.00
                                                  NC1-001-08-25
                                                  Charlotte, NC 28255                Bank of America, N.A.
                                                                                     Tamara J. Laughinhouse
                                                                                     Asset Sales Management Group
                                                                                     101 N. Tryon Street, 8th Floor
                                                                                     NC1-001-08-25
                                                                                     Charlotte, NC 28255


                                                                                     BANK OF AMERICA, N.A. COMMERCIAL
                                                                                     Diane Timmons, Asst. Gen. Counsel
                                                                                     901 Main Street, 15th Floor
                                                                                     TX1-492-15-03
                                                                                     Dallas, TX 75202
                                                  BANK OF AMERICA, N.A. COMMERCIAL
                                                  101 N. Tryon Street, 8th Floor     and
BANK OF AMERICA, N.A. COMMERCIAL                                                                                               CACH, LLC   Sherman Originator III LLC      $0.00
                                                  NC1-001-08-25
                                                  Charlotte, NC 28255                Bank of America, N.A.
                                                                                     Tamara J. Laughinhouse
                                                                                     Asset Sales Management Group
                                                                                     101 N. Tryon Street, 8th Floor
                                                                                     NC1-001-08-25
                                                                                     Charlotte, NC 28255




In re: SquareTwo Financial Services Corporation, et al.
Case No. 17-10659 (JLG)                                                                    Page 12 of 32
                                                  17-10659-jlg Doc 190 Filed 05/02/17 Entered 05/02/17 14:54:56 Main Document
                                                         Exhibit B: Schedule of Assumed Contracts
                                                                                          Pg 19 ofand
                                                                                                    49Leases and Cure Amounts
                                                                                      Acquired Debtors
                                                                                                                                                                         Monetary
           Contract Counterparty                                   Address                     Additional Notice Address(es)    Debtor        Proposed Assignee
                                                                                                                                                                        Cure Amount

                                                                                     BANK OF AMERICA, N.A. COMMERCIAL
                                                                                     Diane Timmons, Asst. Gen. Counsel
                                                                                     901 Main Street, 15th Floor
                                                                                     TX1-492-15-03
                                                                                     Dallas, TX 75202
                                                  BANK OF AMERICA, N.A. COMMERCIAL
                                                  101 N. Tryon Street, 8th Floor     and
BANK OF AMERICA, N.A. COMMERCIAL                                                                                               CACH, LLC   Sherman Originator III LLC      $0.00
                                                  NC1-001-08-25
                                                  Charlotte, NC 28255                Bank of America, N.A.
                                                                                     Tamara J. Laughinhouse
                                                                                     Asset Sales Management Group
                                                                                     101 N. Tryon Street, 8th Floor
                                                                                     NC1-001-08-25
                                                                                     Charlotte, NC 28255


                                                                                     BANK OF AMERICA, N.A. COMMERCIAL
                                                                                     Diane Timmons, Asst. Gen. Counsel
                                                                                     901 Main Street, 15th Floor
                                                                                     TX1-492-15-03
                                                                                     Dallas, TX 75202
                                                  BANK OF AMERICA, N.A. COMMERCIAL
                                                  101 N. Tryon Street, 8th Floor     and
BANK OF AMERICA, N.A. COMMERCIAL                                                                                               CACH, LLC   Sherman Originator III LLC      $0.00
                                                  NC1-001-08-25
                                                  Charlotte, NC 28255                Bank of America, N.A.
                                                                                     Tamara J. Laughinhouse
                                                                                     Asset Sales Management Group
                                                                                     101 N. Tryon Street, 8th Floor
                                                                                     NC1-001-08-25
                                                                                     Charlotte, NC 28255




In re: SquareTwo Financial Services Corporation, et al.
Case No. 17-10659 (JLG)                                                                    Page 13 of 32
                                                  17-10659-jlg Doc 190 Filed 05/02/17 Entered 05/02/17 14:54:56 Main Document
                                                         Exhibit B: Schedule of Assumed Contracts
                                                                                          Pg 20 ofand
                                                                                                    49Leases and Cure Amounts
                                                                                                Acquired Debtors
                                                                                                                                                                                                     Monetary
           Contract Counterparty                                        Address                          Additional Notice Address(es)                 Debtor             Proposed Assignee
                                                                                                                                                                                                    Cure Amount

                                                                                               BANK OF AMERICA, N.A. COMMERCIAL
                                                                                               Diane Timmons, Asst. Gen. Counsel
                                                                                               901 Main Street, 15th Floor
                                                                                               TX1-492-15-03
                                                                                               Dallas, TX 75202
                                                  BANK OF AMERICA, N.A. COMMERCIAL
                                                  101 N. Tryon Street, 8th Floor               and
BANK OF AMERICA, N.A. COMMERCIAL                                                                                                                     CACH, LLC         Sherman Originator III LLC      $0.00
                                                  NC1-001-08-25
                                                  Charlotte, NC 28255                          Bank of America, N.A.
                                                                                               Tamara J. Laughinhouse
                                                                                               Asset Sales Management Group
                                                                                               101 N. Tryon Street, 8th Floor
                                                                                               NC1-001-08-25
                                                                                               Charlotte, NC 28255

                                                                                               Computershare Trust Company of Canada
                                                                                               Securitization Finance and Operations
                                                                                               c/o Bank of Montreal, Securitization Finance and
                                                                                               Operatoins
                                                                                               First Canadian Place
                                                                                               100 King Street West, 18th Floor
                                                  Bank of Montreal
                                                                                               Toronto, ON M5X 1A1
                                                  National Director, Collections
                                                                                               Canada
                                                  c/o Bank of Montreal, Consumer Collections
                                                                                                                                                   Preferred Credit
Bank Of Montreal                                  2465 Argentia Road                                                                                                              N/A                  $0.00
                                                                                               and                                                Resources Limited
                                                  8th Floor
                                                  Mississauga, ON L5N 0B5
                                                                                               Bank of Montreal
                                                  Canada
                                                                                               North American Vendor Management
                                                                                               Consumer Collections
                                                                                               2466 Argentia Road
                                                                                               8th Floor
                                                                                               Mississauga, ON L5N 0B5
                                                                                               Canada
                                                  Bank of Montreal                             Bank of Montreal
                                                  National Director, Collections               North American Vendor Management
                                                  Consumer Collections                         Consumer Collections
                                                                                                                                                   Preferred Credit
Bank Of Montreal                                  2464 Argentia Road                           2465 Argentia Road                                                                 N/A                  $0.00
                                                                                                                                                  Resources Limited
                                                  8th Floor                                    8th Floor
                                                  Mississauga, ON L5N 0B4                      Mississauga, ON L5N 0B4
                                                  Canada                                       Canada
                                                  BIROCK INVESTMENTS INC.
                                                  85 Valleywood Dr.
BiRock Investments Inc.                                                                                                                           CCL Financial Inc.              N/A                  $0.00
                                                  Markham, ON L3R 5E5
                                                  Canada
In re: SquareTwo Financial Services Corporation, et al.
Case No. 17-10659 (JLG)                                                                              Page 14 of 32
                                                  17-10659-jlg Doc 190 Filed 05/02/17 Entered 05/02/17 14:54:56 Main Document
                                                         Exhibit B: Schedule of Assumed Contracts
                                                                                          Pg 21 ofand
                                                                                                    49Leases and Cure Amounts
                                                                                    Acquired Debtors
                                                                                                                                                                                 Monetary
           Contract Counterparty                                         Address             Additional Notice Address(es)                   Debtor         Proposed Assignee
                                                                                                                                                                                Cure Amount
                                                  BofA Canada Bank
                                                  Chief Executive Office
                                                                                                                                         Preferred Credit
Bofa Canada Bank                                  1600 James Naismith Drive                                                                                       N/A              $0.00
                                                                                                                                        Resources Limited
                                                  Ottawa, ON K1B 5NB
                                                  Canada
                                                  BofA Canada Bank
                                                  Hugues Martel, CFO
                                                                                                                                         Preferred Credit
Bofa Canada Bank                                  1595 Telesat Court                                                                                              N/A              $0.00
                                                                                                                                        Resources Limited
                                                  Ottawa, ON K1B 5R3
                                                  Canada
                                                  Canadian Tire Bank               Canadian Tire Financial Services Limited
                                                  AVP, Collection & Recoveries     VP, Legal and Regulatory Affairs & General Counsel
                                                                                                                                         Preferred Credit
Canadian Tire Bank                                366 Bunting Road                 3475 Superior Court                                                            N/A              $0.00
                                                                                                                                        Resources Limited
                                                  St. Catharines, ON L2M 3Y6       Oakville, ON L6L 0C6
                                                  Canada                           Canada

                                                  Canadian Tire Bank               Canadian Tire Financial Services Limited
                                                  AVP, Collection & Recoveries     VP, Legal and Regulatory Affairs & General Counsel
                                                                                                                                         Preferred Credit
Canadian Tire Bank                                366 Bunting Road                 3475 Superior Court                                                            N/A              $0.00
                                                                                                                                        Resources Limited
                                                  St. Catharines, ON L2M 3Y6       Oakville, ON L6L 0C6
                                                  Canada                           Canada

                                                  Canadian Tire Bank               Canadian Tire Financial Services Limited
                                                  AVP, Credit Services             VP, Legal and Regulatory Affairs & General Counsel
                                                                                                                                         Preferred Credit
Canadian Tire Bank                                366 Bunting Road                 3475 Superior Court                                                            N/A              $0.00
                                                                                                                                        Resources Limited
                                                  St. Catharines, ON L2M 3Y6       Oakville, ON L6L 0C6
                                                  Canada                           Canada
                                                  Canadian Tire Bank               Canadian Tire Financial Services Limited
                                                  AVP, Credit Services             AVP, Finance Services
                                                                                                                                         Preferred Credit
Canadian Tire Bank                                P.O. Box 2000                    555 Prince Charles Drive                                                       N/A              $0.00
                                                                                                                                        Resources Limited
                                                  Welland, ON L3B 5S3              Welland, ON L3C 6B5
                                                  Canada                           Canada




In re: SquareTwo Financial Services Corporation, et al.
Case No. 17-10659 (JLG)                                                                 Page 15 of 32
                                                  17-10659-jlg Doc 190 Filed 05/02/17 Entered 05/02/17 14:54:56 Main Document
                                                         Exhibit B: Schedule of Assumed Contracts
                                                                                          Pg 22 ofand
                                                                                                    49Leases and Cure Amounts
                                                                                  Acquired Debtors
                                                                                                                                                                      Monetary
           Contract Counterparty                                      Address              Additional Notice Address(es)     Debtor        Proposed Assignee
                                                                                                                                                                     Cure Amount


                                                                                 Capital One
                                                                                 15000 Capital One Drive
                                                                                 Glen Allen, VA 23238
                                                  Capital One
                                                                                 and
                                                  Shahin Rezai
CAPITAL ONE BANK (USA), N.A.                                                                                                CACH, LLC   Sherman Originator III LLC      $0.00
                                                  8020 Towers Cresent Drive
                                                                                 Capital One Recoveries Debt Sale-
                                                  Vienna , VA 22182
                                                                                 Post Sale Support Team 12077-0370
                                                                                 Capital One Recoveries
                                                                                 15000 Capital One Drive
                                                                                 Glen Allen, VA 23238




                                                                                 Capital One
                                                                                 Shahin Rezai, Chief Counsel,Transactions
                                                                                 1680 Capital One Drive
                                                                                 McLean, VA 22102
                                                  CAPITAL ONE BANK (USA), N.A.
CAPITAL ONE BANK USA, NATIONAL                                                   and
                                                  15000 Capital One Drive                                                   CACH, LLC   Sherman Originator III LLC      $0.00
ASSOC
                                                  Glen Allen , VA 23238
                                                                                 Capital One Recoveries Debt Sale-
                                                                                 Post Sale Support Team 12077-0370
                                                                                 Capital One Recoveries
                                                                                 15000 Capital One Drive
                                                                                 Glen Allen, VA 23238




                                                                                 Capital One
                                                                                 Shahin Rezai, Chief Counsel,Transactions
                                                                                 1680 Capital One Drive
                                                                                 McLean, VA 22102
                                                  Capital One, N.A.
                                                                                 and
CAPITAL ONE NATIONAL ASSOC                        15000 Capital One Drive                                                   CACH, LLC   Sherman Originator III LLC      $0.00
                                                  Glen Allen, VA 23238
                                                                                 Capital One Recoveries Debt Sale-
                                                                                 Post Sale Support Team 12077-0370
                                                                                 Capital One Recoveries
                                                                                 15000 Capital One Drive
                                                                                 Glen Allen, VA 23238

In re: SquareTwo Financial Services Corporation, et al.
Case No. 17-10659 (JLG)                                                                Page 16 of 32
                                                  17-10659-jlg Doc 190 Filed 05/02/17 Entered 05/02/17 14:54:56 Main Document
                                                         Exhibit B: Schedule of Assumed Contracts
                                                                                          Pg 23 ofand
                                                                                                    49Leases and Cure Amounts
                                                                                                      Acquired Debtors
                                                                                                                                                                                          Monetary
           Contract Counterparty                                       Address                                 Additional Notice Address(es)     Debtor        Proposed Assignee
                                                                                                                                                                                         Cure Amount
                                                                                                     CAPITAL ONE BANK (USA), N.A.
                                                                                                     Shahin Rezai
                                                  Capital One                                        8020 Towers Cresent Drive
                                                  Recoveries Debt Sale_Post Sale Support Team        Vienna, VA 22182
                                                  12077-0370
CAPITAL ONE NATIONAL ASSOCIATION                                                                                                                CACH, LLC   Sherman Originator III LLC      $0.00
                                                  15000 Capital One Drive                            and
                                                  Capital One Recoveries
                                                  Glen Allen, VA 23238                               Capital One
                                                                                                     15000 Capital One Drive
                                                                                                     Glen Allen, VA 23238
                                                                                                     CAPITAL ONE BANK (USA), N.A.
                                                                                                     Shahin Rezai
                                                  Capital One, N.A.                                  8020 Towers Cresent Drive
                                                  Recoveries Debt Sale_Post Sale Support Team        Vienna, VA 22182
                                                  12077-0370
CAPITAL ONE NATIONAL ASSOCIATION                                                                                                                CACH, LLC   Sherman Originator III LLC      $0.00
                                                  15000 Capital One Drive                            and
                                                  Capital One Recoveries
                                                  Glen Allen, VA 23238                               Capital One
                                                                                                     15000 Capital One Drive
                                                                                                     Glen Allen, VA 23238
                                                                                                     CAPITAL ONE NATIONAL ASSOCIATION
                                                                                                     Shahin Rezai, Chief Counsel,Transactions
                                                  Capital One, N.A.                                  1680 Capital One Drive
                                                  Recoveries Debt Sale-Post Sale Support Team 12077- McLean, VA 22102
                                                  0370
CAPITAL ONE NATIONAL ASSOCIATION                                                                                                                CACH, LLC   Sherman Originator III LLC      $0.00
                                                  15000 Capital One Drive                            and
                                                  Capital One Recoveries
                                                  Glen Allen, VA 23238                               Capital One
                                                                                                     150000 Capital One Drive
                                                                                                     Glen Allen, VA 23238


                                                                                                     CAPITAL ONE NATIONAL ASSOCIATION
                                                                                                     Shahin Rezai, Chief Counsel,Transactions
                                                                                                     1680 Capital One Drive
                                                                                                     McLean, VA 22102
                                                  CAPITAL ONE BANK (USA), N.A.
                                                                                                     and
CAPITAL ONE, N.A.                                 15000 Capital One Drive                                                                       CACH, LLC   Sherman Originator III LLC      $0.00
                                                  Glen Allen , VA 23238
                                                                                                     Capital One Recoveries Debt Sale-
                                                                                                     Post Sale Support Team 12077-0370
                                                                                                     Capital One Recoveries
                                                                                                     15000 Capital One Drive
                                                                                                     Glen Allen, VA 23238

In re: SquareTwo Financial Services Corporation, et al.
Case No. 17-10659 (JLG)                                                                                    Page 17 of 32
                                                  17-10659-jlg Doc 190 Filed 05/02/17 Entered 05/02/17 14:54:56 Main Document
                                                         Exhibit B: Schedule of Assumed Contracts
                                                                                          Pg 24 ofand
                                                                                                    49Leases and Cure Amounts
                                                                                  Acquired Debtors
                                                                                                                                                                              Monetary
           Contract Counterparty                                       Address              Additional Notice Address(es)        Debtor            Proposed Assignee
                                                                                                                                                                             Cure Amount
                                                  Citi Cards Canada Inc.
                                                                                 Citicorp Credit Services, Inc. (USA)
                                                  Legal Department
                                                                                 Michael Taulbee                             Preferred Credit
Citi Cards Canada Inc.                            5900 Hurontario Street                                                                                   N/A                  $0.00
                                                                                 7920 NW 110th Street                       Resources Limited
                                                  Mississauga, ON L5R 0B8
                                                                                 Kansas City, MO 64153
                                                  Canada
                                                                                 CITIBANK, N.A.
                                                                                 Michael Taulbee
                                                                                 7920 NW 110th Street
                                                                                 Kansas City, MO 64153
                                                  CITIBANK, N.A.
                                                                                 and
CITIBANK SOUTH DAKOTA, N.A.                       701 East 60th Street North                                                   CACH, LLC        Sherman Originator III LLC      $0.00
                                                  Sioux Falls, SD 57117
                                                                                 Citibank, N.A.
                                                                                 General Counsel
                                                                                 701 East 60th Street North
                                                                                 Sioux Falls, SD 57117

                                                                                 CITIBANK, N.A.
                                                                                 Michael Taulbee
                                                                                 7920 NW 110th Street
                                                                                 Kansas City, MO 64153
                                                  CITIBANK, N.A.
                                                                                 and
CITIBANK SOUTH DAKOTA, N.A.                       701 East 60th Street North                                                   CACH, LLC        Sherman Originator III LLC      $0.00
                                                  Sioux Falls, SD 57117
                                                                                 Citibank, N.A.
                                                                                 General Counsel
                                                                                 701 East 60th Street North
                                                                                 Sioux Falls, SD 57117

                                                                                 CITIBANK, N.A.
                                                                                 Michael Taulbee
                                                                                 7920 NW 110th Street
                                                                                 Kansas City, MO 64153
                                                  CITIBANK, N.A.
                                                                                 and
CITIBANK SOUTH DAKOTA, N.A.                       701 East 60th Street North                                                   CACH, LLC        Sherman Originator III LLC      $0.00
                                                  Sioux Falls, SD 57117
                                                                                 Citibank, N.A.
                                                                                 General Counsel
                                                                                 701 East 60th Street North
                                                                                 Sioux Falls, SD 57117




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                                                         Exhibit B: Schedule of Assumed Contracts
                                                                                          Pg 25 ofand
                                                                                                    49Leases and Cure Amounts
                                                                                  Acquired Debtors
                                                                                                                                                                     Monetary
           Contract Counterparty                                       Address             Additional Notice Address(es)    Debtor        Proposed Assignee
                                                                                                                                                                    Cure Amount
                                                                                 CITIBANK, N.A.
                                                                                 Steven Dasch
                                                                                 11500 NW Ambassador Drive
                                                                                 Suite 400
                                                  CITIBANK, N.A.                 Kansas City, MO 64153
                                                  General Counsel
CITIBANK, N.A.                                                                                                             CACH, LLC   Sherman Originator III LLC      $0.00
                                                  701 East 60th Street North     and
                                                  Sioux Falls, SD 57117
                                                                                 Citibank, N.A.
                                                                                 701 East 60th Street North
                                                                                 Sioux Falls, SD 57117

                                                                                 CITIBANK, N.A.
                                                                                 Steven Dasch
                                                                                 11500 NW Ambassador Drive
                                                                                 Suite 400
                                                  CITIBANK, N.A.                 Kansas City, MO 64153
                                                  General Counsel
CITIBANK, N.A.                                                                                                             CACH, LLC   Sherman Originator III LLC      $0.00
                                                  701 East 60th Street North     and
                                                  Sioux Falls, SD 57117
                                                                                 Citibank, N.A.
                                                                                 701 East 60th Street North
                                                                                 Sioux Falls, SD 57117

                                                                                 CITIBANK, N.A.
                                                                                 Steven Dasch
                                                                                 11500 NW Ambassador Drive
                                                                                 Suite 400
                                                  CITIBANK, N.A.                 Kansas City, MO 64153
                                                  General Counsel
CITIBANK, N.A.                                                                                                             CACH, LLC   Sherman Originator III LLC      $0.00
                                                  701 East 60th Street North     and
                                                  Sioux Falls, SD 57117
                                                                                 Citibank, N.A.
                                                                                 701 East 60th Street North
                                                                                 Sioux Falls, SD 57117




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                                                         Exhibit B: Schedule of Assumed Contracts
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                                                                                                    49Leases and Cure Amounts
                                                                                         Acquired Debtors
                                                                                                                                                                            Monetary
           Contract Counterparty                                        Address                    Additional Notice Address(es)        Debtor         Proposed Assignee
                                                                                                                                                                           Cure Amount
                                                                                        CitiFinancial Canada East Corporation
                                                                                        1959 Upper Water St.
                                                                                        Suite 900
                                                                                        P.O. Box 997
                                                  CitiFinancial Canada, Inc.            Halifax, ON 3J 2X2
                                                  General Counsel                       Canada
                                                                                                                                    Preferred Credit
Citifinancial Canada, Inc.                        5900 Hurontario Street                                                                                     N/A              $0.00
                                                                                                                                   Resources Limited
                                                  Mississauga, ON L5R 0B8               and
                                                  Canada
                                                                                        Citicorp Credit Services, Inc. (USA)
                                                                                        Asset Sales
                                                                                        7920 NW 110th Street
                                                                                        Kansas City, MO 64153
                                                                                        CitiFinancial Canada, Inc.
                                                                                        General Counsel
                                                                                        5900 Hurontario Street
                                                                                        Mississauga, ON L5R 0B8
                                                  CitiFinancial Canada, Inc.
                                                                                        Canada
                                                  President
                                                                                        and                                         Preferred Credit
Citifinancial Canada, Inc.                        5900 Hurontario Street                                                                                     N/A              $0.00
                                                                                                                                   Resources Limited
                                                  Mississauga, ON L5R 0B8
                                                                                        Citicorp Credit Services, Inc. (USA)
                                                  Canada
                                                                                        Asset Sales
                                                                                        7920 NW 110th Street
                                                                                        Building 1
                                                                                        Kansas City, MO 64153
                                                  CLAYTON DAVID KAINER
CLAYTON DAVID KAINER                              349 HIGHWAY 353                                                                     CACH, LLC              N/A              $0.00
                                                  BOULDER, WY 82923
                                                  Collect Com Credit Inc.
                                                  Attn: Aaron Taylor, President & CEO
                                                                                                                                    Preferred Credit
Collect Com Credit Inc                            5900 Finch Avenue East, Suite 101                                                                          N/A              $0.00
                                                                                                                                   Resources Limited
                                                  Toronto, ON M1B 5P8
                                                  Canada
                                                  Collectrite Ontario (SW86) Inc.       Christensen Law Firm
Collectrite Ontario (SW86) Inc. /                 6616 Ellis Road                       6616 Ellis Road                             Preferred Credit
                                                                                                                                                             N/A              $0.00
Christensen Law Firm                              Cambridge, ON N3C 2V4                 Cambridge, ON N3C 2V4                      Resources Limited
                                                  Canada                                Canada
                                                  CORNERSTONE SUPPORT, INC
CORNERSTONE SUPPORT, INC (ROBERT                  70 MANSELL COURT
                                                                                                                                      CACH, LLC              N/A              $0.00
PIERSON - RESIDENT MANAGER)                       SUITE 250
                                                  ROSWELL, GA 30076
                                                  CORNERSTONE SUPPORT, INC
CORNERSTONE SUPPORT, INC (ROBERT                  70 MANSELL COURT                                                                 CACV of Colorado,
                                                                                                                                                             N/A              $0.00
PIERSON - RESIDENT MANAGER)                       SUITE 250                                                                              LLC
                                                  ROSWELL, GA 30076
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                                                         Exhibit B: Schedule of Assumed Contracts
                                                                                          Pg 27 ofand
                                                                                                    49Leases and Cure Amounts
                                                                                                 Acquired Debtors
                                                                                                                                                                                               Monetary
           Contract Counterparty                                         Address                          Additional Notice Address(es)          Debtor             Proposed Assignee
                                                                                                                                                                                              Cure Amount
                                                  CREDITSHOP, INC.
                                                  Chief Executive Legal Officer
                                                                                                                                             CACH, LLC d/b/a
CREDITSHOP, INC.                                  221 West Sixth Street                                                                                          Sherman Originator III LLC      $0.00
                                                                                                                                           Fresh View Funding
                                                  Suite 825
                                                  Austin, TX 78702
                                                  D&A Collection Corporation
                                                  75 Watline Ave., Suite 142                                                                Preferred Credit
D&A Collection Corporation                                                                                                                                                  N/A                  $0.00
                                                  Mississauga, ON L4Z 3E5                                                                  Resources Limited
                                                  Canada
                                                  De Lage Landen Financial Services Inc.        De Lage Landen Financial Services Canada
De Lage Langden / Kempenfelt Imaging              199 Jefferson Forest Dr.                      1235 N Service Rd W
                                                                                                                                            CCL Financial Inc.              N/A                  $0.00
Systems Inc.                                      Richmond Hill, ON L4E 4K3                     Oakville, ON L6M 2W2
                                                  Canada                                        Canada
                                                  easyfinancial Services Inc.
                                                  Jeffrey Pilon - Vice President, Collections
                                                  33 City Centre Drive                                                                      Preferred Credit
Easyfinancial Services Inc.                                                                                                                                                 N/A                  $0.00
                                                  Suite 510                                                                                Resources Limited
                                                  Mississauga, ON L5B 2N5
                                                  Canada
                                                  Element Financial Corporation
Element Financial Corporation /                   4 Robert Speck Parkway, Suite 900
                                                                                                                                            CCL Financial Inc.              N/A                  $0.00
Kempenfelt Imaging Systems Inc.                   Mississauga, ON L4Z 151
                                                  Canada
                                                  FIFTH THIRD BANK                              FIFTH THIRD BANK
                                                  Chriistopher Shroat                           Contracts Attorney
FIFTH THIRD BANK                                  Senior Vice President                         38 Fountain Square Plaza                       CACH, LLC         Sherman Originator III LLC      $0.00
                                                  38 Fountain Square Plaza                      MD 10AT76
                                                  Cincinnati, OH 45263                          Cincinnati, OH 45263
                                                  GFGS II, LLC
                                                                                                FIFTH THIRD BANK
                                                  Greg Atkinson
                                                                                                General Counsel
FIFTH THIRD BANK                                  CFO                                                                                          CACH, LLC         Sherman Originator III LLC      $0.00
                                                                                                8405 SW Nimbus Ave., Suite A
                                                  8405 SW Nimbus Avenue, Suite A
                                                                                                Beaverton, OR 97008
                                                  Beaverton, OR 97008
                                                                                                FIRST NATIONAL BANK OF OMAHA
                                                  First National Bank of Omaha
                                                                                                First Bankcard Legal
FIRST NATIONAL BANK OF OMAHA                      1620 Dodge Street                                                                            CACH, LLC         Sherman Originator III LLC      $0.00
                                                                                                1620 Dodge Street
                                                  Omaha , NE 68197
                                                                                                Omaha, NE 68197
                                                                                                FIRST NATIONAL BANK OF OMAHA
                                                  First National Bank of Omaha
                                                                                                First Bankcard Legal
FIRST NATIONAL BANK OF OMAHA                      1620 Dodge Street                                                                            CACH, LLC         Sherman Originator III LLC      $0.00
                                                                                                1620 Dodge Street
                                                  Omaha , NE 68197
                                                                                                Omaha, NE 68197




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                                                         Exhibit B: Schedule of Assumed Contracts
                                                                                          Pg 28 ofand
                                                                                                    49Leases and Cure Amounts
                                                                                                        Acquired Debtors
                                                                                                                                                                                          Monetary
           Contract Counterparty                                        Address                                  Additional Notice Address(es)        Debtor         Proposed Assignee
                                                                                                                                                                                         Cure Amount
                                                                                                       Canadian Road Leasing Company
                                                                                                       c/o Ford Credit Canada Limited
                                                                                                       The Canadian Road
                                                                                                       Oakville, ON L6J 5C7
                                                                                                       Canada

                                                                                                       and
                                                  Ford Credit Canada Limited
                                                                                                       NRC Debt Sale Co-ordinator
                                                  Paula Rietta, Vice-President - Legal and Assistant
                                                                                                       Henry Noppers
                                                  Secretary                                                                                       Preferred Credit
Ford Credit Canada Limited                                                                             Edmonton Business Centre                                            N/A              $0.00
                                                  The Canadian Road                                                                              Resources Limited
                                                                                                       17187-114 Avenue NW
                                                  Oakville, ON L6J 5C7
                                                                                                       Edmonton, AB T5S 2N5
                                                  Canada
                                                                                                       Canada

                                                                                                       and

                                                                                                       NRC Debt Sale Coordinator
                                                                                                       c/o NRC Administrative Assistant
                                                                                                       1335 S. Clearview Avenue
                                                                                                       Mesa, AZ 85209
                                                                                                       Canadian Road Leasing Company
                                                                                                       c/o Ford Credit Canada Limited
                                                                                                       The Canadian Road
                                                                                                       Oakville, ON L6J 5C7
                                                                                                       Canada

                                                                                                       and
                                                  Ford Credit Canada Limited
                                                                                                       NRC Debt Sale Co-ordinator
                                                  Paula Rietta, Vice-President - Legal and Assistant
                                                                                                       Henry Noppers
                                                  Secretary                                                                                       Preferred Credit
Ford Credit Canada Limited                                                                             Edmonton Business Centre                                            N/A              $0.00
                                                  The Canadian Road                                                                              Resources Limited
                                                                                                       17187-114 Avenue NW
                                                  Oakville, ON L6J 5C7
                                                                                                       Edmonton, AB T5S 2N5
                                                  Canada
                                                                                                       Canada

                                                                                                       and

                                                                                                       NRC Debt Sale Coordinator
                                                                                                       c/o NRC Administrative Assistant
                                                                                                       1335 S. Clearview Avenue
                                                                                                       Mesa, AZ 85209



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                                                         Exhibit B: Schedule of Assumed Contracts
                                                                                          Pg 29 ofand
                                                                                                    49Leases and Cure Amounts
                                                                                          Acquired Debtors
                                                                                                                                                                                       Monetary
           Contract Counterparty                                        Address                    Additional Notice Address(es)         Debtor             Proposed Assignee
                                                                                                                                                                                      Cure Amount
                                                  FrancoTyp-Postalia
                                                  82 Corstate Avenue
FrancoType Postalia Mailing Solutions                                                                                               CCL Financial Inc.              N/A                  $0.00
                                                  Concord, ON L4K 4X2
                                                  Canada
                                                  GE Capital Canada Finance              GE Capital Canada Finance
                                                  Manager, Recovery Sales                General Counsel                             Preferred Credit
Ge Capital Canada Finance                                                                                                                                           N/A                  $0.00
                                                  950 Forrer Blvd                        777 Long Ridge Road                        Resources Limited
                                                  Kettering, OH 45420                    Stamford, CT 06902-1250
                                                                                         GE MONEY BANK
                                                  General Electric Capital Corporation
                                                                                         General Counsel, GE Card Services
                                                  Manager, Recovery Sales                                                            Preferred Credit
General Electric Capital                                                                 c/o General Electric Capital Corporation                                   N/A                  $0.00
                                                  950 Forrer Blvd                                                                   Resources Limited
                                                                                         777 Long Ridge Road
                                                  Kettering, OH 45066
                                                                                         Stamford, CT 06902-1250
                                                                                         Genesis Bankcard Services, Inc.
                                                                                         General Counsel
                                                                                         15220 NW Greenbrier Pkwy
                                                                                         Beaverton, OR 97008
                                                  Genesis Bankcard Services,INC
                                                  General Counsel
GENESIS BANKCARD SERVICES, INC.                                                          and                                           CACH, LLC         Sherman Originator III LLC      $0.00
                                                  8405 SW Nimbus Ave., Suite A
                                                  Beaverton , OR 97008
                                                                                         Genesis Bankcard Services, Inc.
                                                                                         Genesis Consumer Funding , LLC
                                                                                         15220 NW Greenbrier Pkwy
                                                                                         Beaverton, OR 97008
                                                                                         Genesis Bankcard Services, Inc.
                                                                                         Gregg Atkinson, CFO
                                                                                         8405 SW Nimbus Ave., Suite A
                                                                                         Beaverton, OR 97008
                                                  Genesis Bankcard Services,INC
                                                  Greg Atkinson, CFO
GENESIS BANKCARD SERVICES, INC.                                                          and                                           CACH, LLC         Sherman Originator III LLC      $0.00
                                                  15220 NW Greenbrier Pkwy
                                                  Beaverton , OR 97006
                                                                                         Genesis Bankcard Services, Inc.
                                                                                         Genesis Consumer Funding , LLC
                                                                                         15220 NW Greenbrier Pkwy
                                                                                         Beaverton, OR 97008




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                                                         Exhibit B: Schedule of Assumed Contracts
                                                                                          Pg 30 ofand
                                                                                                    49Leases and Cure Amounts
                                                                                                     Acquired Debtors
                                                                                                                                                                                               Monetary
           Contract Counterparty                                      Address                                Additional Notice Address(es)        Debtor            Proposed Assignee
                                                                                                                                                                                              Cure Amount
                                                                                                   Genesis Bankcard Services, Inc.
                                                                                                   Gregg Atkinson, CFO
                                                                                                   8405 SW Nimbus Ave., Suite A
                                                  Genesis Bankcard Services,INC./ Genesis Consumer Beaverton, OR 97008
                                                  Funding LLC
GENESIS BANKCARD SERVICES, INC.                   General Counsel                                  and                                          CACH, LLC        Sherman Originator III LLC      $0.00
                                                  15220 NW Greenbrier Pkwy
                                                  Beaverton , OR 97006                             Genesis Bankcard Services, Inc.
                                                                                                   Genesis Consumer Funding , LLC
                                                                                                   15220 NW Greenbrier Pkwy
                                                                                                   Beaverton, OR 97008
                                                  GFGS II,LLC
                                                  Gregg Atkinson, CFO
GENESIS BANKCARD SERVICES, INC.                                                                                                                 CACH, LLC        Sherman Originator III LLC      $0.00
                                                  8405 SW Nimbus Ave., Suite A
                                                  Beaverton , OR 97008
                                                  Genesis Bankcard Services, Inc.
                                                  Greg Atkinson, CFO
GENESIS CONSUMER FUNDING, LLC                                                                                                                   CACH, LLC        Sherman Originator III LLC      $0.00
                                                  15220 NW Greenbrier Pkwy
                                                  Beaverton , OR 97006
                                                  GFGS II, LLC
                                                  Gregg Atkinson
GFGS II, LLC                                      CFO                                                                                           CACH, LLC        Sherman Originator III LLC      $0.00
                                                  8405 SW Nimbus Avenue, Suite A
                                                  Beaverton, OR 97008
                                                  Global Credit & Collections Inc.
                                                  Attn: Debbie Hayhow, SVP, Client & Business
                                                  Solutions                                                                                   Preferred Credit
Global Credit & Collections Inc.                                                                                                                                            N/A                  $0.00
                                                  1490 Denison Street                                                                        Resources Limited
                                                  Markham, ON L3R 9T7
                                                  Canada
                                                  International Credit Experts Inc.
                                                  3800 Steeles Ave. West
                                                                                                                                              Preferred Credit
International Credit Experts Inc.                 Unit 100E                                                                                                                 N/A                  $0.00
                                                                                                                                             Resources Limited
                                                  Woodbridge, ON L4L 4G9
                                                  Canada
                                                  JPMORGAN CHASE BANK, N.A.
                                                  Tom Shultz
JPMORGAN CHASE BANK, N.A.                         50 S. Main Street                                                                             CACH, LLC        Sherman Originator III LLC      $0.00
                                                  9th Floor
                                                  Akron , OH 44308-1828
                                                  JPMORGAN CHASE BANK, N.A.-COMMERCIAL
                                                  Tom Shultz
JPMORGAN CHASE BANK, N.A.-
                                                  50 S. Main Street                                                                             CACH, LLC        Sherman Originator III LLC      $0.00
COMMERCIAL
                                                  9th Floor
                                                  Akron , OH 44308-1828
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                                                         Exhibit B: Schedule of Assumed Contracts
                                                                                          Pg 31 ofand
                                                                                                    49Leases and Cure Amounts
                                                                                                   Acquired Debtors
                                                                                                                                                                                              Monetary
           Contract Counterparty                                          Address                          Additional Notice Address(es)        Debtor             Proposed Assignee
                                                                                                                                                                                             Cure Amount
                                                  JPMORGAN CHASE BANK, N.A.-COMMERCIAL
                                                  Tom Shultz
JPMORGAN CHASE BANK, N.A.-
                                                  50 S. Main Street                                                                           CACH, LLC         Sherman Originator III LLC      $0.00
COMMERCIAL
                                                  9th Floor
                                                  Akron , OH 44308-1828
                                                  JPMORGAN CHASE BANK, N.A.-COMMERCIAL
                                                  Tom Shultz
JPMORGAN CHASE BANK, N.A.-
                                                  50 S. Main Street                                                                           CACH, LLC         Sherman Originator III LLC      $0.00
COMMERCIAL
                                                  9th Floor
                                                  Akron , OH 44308-1828
                                                  Kabbage, Inc.
                                                  Christopher O'Reilly
Kabbage, Inc.                                                                                                                                 CACH, LLC         Sherman Originator III LLC      $0.00
                                                  730 Peachtree Street NE
                                                  Atlanta , GA 30308
                                                                                                  Key Bank N.A
                                                  Key Bank- Collections
                                                                                                  Howard E. Coburn
                                                  Jenna Mustar
KEY BANK, N.A.-COMMERCIAL                                                                         127 Public Square                           CACH, LLC         Sherman Originator III LLC      $0.00
                                                  4910 Tiedeman Ave.
                                                                                                  2nd Floor
                                                  Brooklyn , OH 44144
                                                                                                  Cleveland, OH 44114
                                                  LendingClub Corporation
LENDINGCLUB                                       71 Stevenson St., Suite 300                                                                 CACH, LLC         Sherman Originator III LLC      $0.00
                                                  San Francisco, CA 94105
                                                  Maritime Accounts Receivable Services Limited
Maritime Accounts Receivable Services             6989 Highway 354 RR2                                                                      Preferred Credit
                                                                                                                                                                           N/A                  $0.00
Limited                                           Kennetcook, NS B0N 1P0                                                                   Resources Limited
                                                  Canada
                                   Metropolitan Credit Adjusters Ltd.
                                   Attn: Brian Summerfelt, President
                                                                                                                                            Preferred Credit
Metropolitan Credit Adjusters Ltd. 400 10310 Jasper Ave                                                                                                                    N/A                  $0.00
                                                                                                                                           Resources Limited
                                   Edmonton, AB T5J 2W4
                                   Canada
                                   MOORE-MCLEAN INSURANCE GROUP LTD
                                   900-48 YONGE ST
MOORE-MCLEAN INSURANCE GROUP LTD                                                                                                           CCL Financial Inc.              N/A                  $0.00
                                   TORONTO, ON M5E 1G6
                                   CANADA
                                   National Credit Recovery Inc.
                                   Attn: Asad Mirza, President & CEO
                                                                                                                                            Preferred Credit
National Credit Recovery Inc.      6285 Northam Drive 4th Floor                                                                                                            N/A                  $0.00
                                                                                                                                           Resources Limited
                                   Mississauga, ON L4V-1X5
                                   Canada
                                   National Recovery Corp.
                                   1425 Bishop St N. Unit #14                                                                               Preferred Credit
National Recovery Corp.                                                                                                                                                    N/A                  $0.00
                                   Cambridge, ON N1R 6J9                                                                                   Resources Limited
                                   Canada
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                                                                                          Pg 32 ofand
                                                                                                    49Leases and Cure Amounts
                                                                                                      Acquired Debtors
                                                                                                                                                                                                   Monetary
           Contract Counterparty                                       Address                                  Additional Notice Address(es)        Debtor             Proposed Assignee
                                                                                                                                                                                                  Cure Amount
                                                  On Deck Capital, Inc.
ON DECK CAPITAL, INC.                             1400 Broadway, 25th Floor                                                                        CACH, LLC         Sherman Originator III LLC      $0.00
                                                  New York, NY 10018
                                                  President's Choice Bank
                                                                                                     President's Choice Bank
                                                  Brian Reid, Senior Manager Collections- Credit &
                                                                                                     Legal Counsel
                                                  Risk
                                                                                                     25 York Street
                                                  25 York Street                                                                                 Preferred Credit
President'S Choice Bank                                                                              P.O. Box 201                                                               N/A                  $0.00
                                                  P.O. Box 201                                                                                  Resources Limited
                                                                                                     7th Floor
                                                  7th Floor
                                                                                                     Toronto, ON M5J 2V5
                                                  Toronto, ON M5J 2V5
                                                                                                     Canada
                                                  Canada
                                                  President's Choice Bank
                                                                                                     President's Choice Bank
                                                  Paul Narcisco, Senior Director - Credit & Risk
                                                                                                     Legal Counsel
                                                  Management
                                                                                                     439 King Street West                        Preferred Credit
President'S Choice Bank                           439 King Street West                                                                                                          N/A                  $0.00
                                                                                                     5th Floor                                  Resources Limited
                                                  5th Floor
                                                                                                     Toronto, ON M5V 1K4
                                                  Toronto, ON M5V 1K4
                                                                                                     Canada
                                                  Canada
                                                  Prosper Funding,LLC                                Prosper Funding,LLC
                                                  Schin Adarkar                                      Aaron Vermot, CEO
PROSPER FUNDING, LLC                              221 Main Street                                    221 Main Street                               CACH, LLC         Sherman Originator III LLC      $0.00
                                                  3rd Floor                                          3rd Floor
                                                  San Francisco, CA 94105                            San Francisco, CA 94105
                                                  REGIONS BANK
                                                                                                     REGIONS-COMMERCIAL
                                                  Wade Parker
                                                                                                     Ginger Carroll Gray, Esq.
REGIONS BANK                                      Mailcode: ALBH70205A                                                                             CACH, LLC         Sherman Originator III LLC      $0.00
                                                                                                     1819 Fifth Avenue North
                                                  201 Milan Parkway
                                                                                                     Birmingham, AL 35203
                                                  Birmingham, AL 35211
                                                                                                     REGIONS-COMMERCIAL
                                                  Regions Bank
                                                                                                     Bradley Arant Boult Cummings LLP
                                                  Wade Parker
                                                                                                     Kay K. Bains, Esq.
REGIONS-COMMERCIAL                                Mailcode: ALBH70205A                                                                             CACH, LLC         Sherman Originator III LLC      $0.00
                                                                                                     1819 Fifth Avenue North
                                                  201 Milan Parkway
                                                  Birmingham, AL 35211
                                                                                                     Birmingham, AL 35203
                                                  Regions Bank                                       REGIONS-COMMERCIAL
                                                  Wade Parker                                        Bradley Arant Boult Cummings LLP
REGIONS-COMMERCIAL                                Mailcode: ALBH70205A                               Kay K. Bains, Esq.                            CACH, LLC         Sherman Originator III LLC      $0.00
                                                  201 Milan Parkway                                  1819 Fifth Avenue North
                                                  Birmingham, AL 35211                               Birmingham, AL 35203
                                                  Rogers Business Solutions                          Rogers Business Solutions
                                                  8200 Dixie Road                                    P.O. Box 2000, Stn D
Rogers Business Solutions                                                                                                                       CCL Financial Inc.              N/A                  $0.00
                                                  Brampton, ON L6T 0C1                               Scarborough, ON M1R 5P9
                                                  Canada                                             Canada


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                                                         Exhibit B: Schedule of Assumed Contracts
                                                                                          Pg 33 ofand
                                                                                                    49Leases and Cure Amounts
                                                                                                     Acquired Debtors
                                                                                                                                                                                                        Monetary
           Contract Counterparty                                          Address                              Additional Notice Address(es)               Debtor            Proposed Assignee
                                                                                                                                                                                                       Cure Amount



                                                                                                    Sallie Mae Bank
                                                                                                    Michael Boozo
                                                                                                    300 Contintenal Drive
                                                                                                    Newark, DE 19713

                                                                                                    and

                                                  Deutsche Bank Trust Company Americas              SMB Private Eduaction Grantor Trust 2015-A
                                                  c/o Deutsche Bank Trust National Company          General Counsel
SALLIE MAE                                        Institutional Cash & Securities Services (ICSS)   300 Continental Drive                                CACH, LLC        Sherman Originator III LLC      $0.00
                                                  100 Jersey City                                   Newark, DE 19713
                                                  Jersey City, NJ 07311
                                                                                                    and

                                                                                                    SMB Private Education Grantor Trust 2015-A
                                                                                                    c/o Sallie Mae Bank, as Servicer
                                                                                                    Paul Van Hook, General Counsel
                                                                                                    300 Continental Drive
                                                                                                    Newark, DE 19713



                                                                                                    Sallie Mae Bank
                                                                                                    Deutsche Bank Trust Company Americas c/o
                                                  Sallie Mae Bank                                   Deutsche Bank Trust National Company
SALLIE MAE                                        300 Continental Drive                             Institutional Cash & Securities Services (ICSS)      CACH, LLC        Sherman Originator III LLC      $0.00
                                                  Newark , DE 19713                                 100 Jersey City
                                                                                                    Jersey City, NJ 07311

                                                  Skylink Receivables Inc.
                                                  c/o General Credit Services
Skylink Receivables Inc. (purchased                                                                                                                    Preferred Credit
                                                  845 Wilson Avenue, Suite 401                                                                                                       N/A                  $0.00
recently by General Credit Services)                                                                                                                  Resources Limited
                                                  Toronto, ON M3K 1E6
                                                  Canada




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                                                         Exhibit B: Schedule of Assumed Contracts
                                                                                          Pg 34 ofand
                                                                                                    49Leases and Cure Amounts
                                                                                                     Acquired Debtors
                                                                                                                                                                                                    Monetary
           Contract Counterparty                                         Address                              Additional Notice Address(es)           Debtor             Proposed Assignee
                                                                                                                                                                                                   Cure Amount



                                                                                                    Sallie Mae Bank
                                                                                                    Michael Boozo
                                                                                                    300 Contintenal Drive
                                                                                                    Newark, DE 19713

                                                                                                    and

                                                  Deutsche Bank Trust Company Americas              SMB Private Eduaction Grantor Trust 2015-A
                                                  c/o Deutsche Bank Trust National Company          General Counsel
SMB PRIVATE EDUCATION LOAN
                                                  Institutional Cash & Securities Services (ICSS)   300 Continental Drive                           CACH, LLC         Sherman Originator III LLC      $0.00
GRANTOR TRUST
                                                  100 Jersey City                                   Newark, DE 19713
                                                  Jersey City, NJ 07311
                                                                                                    and

                                                                                                    SMB Private Education Grantor Trust 2015-A
                                                                                                    c/o Sallie Mae Bank, as Servicer
                                                                                                    Paul Van Hook, General Counsel
                                                                                                    300 Continental Drive
                                                                                                    Newark, DE 19713



                                      Edifice 505
                                      6300 avenue du Parc
Societe en Commandite 505 (505 Tower) Suite 608                                                                                                  CCL Financial Inc.              N/A                  $0.00
                                      Montreal, QC H2V 4H8
                                      Canada
                                      Springleaf Finance, INC et al
                                      J. Scott Bailer, Vice President, Senior Managing
SPRINGLEAF FINANCE, INC.              Drector                                                                                                       CACH, LLC         Sherman Originator III LLC      $0.00
                                      601 N.W. 2nd ST.
                                      Evansville, IN 47708
                                      Springleaf Finance, INC et al
                                      J. Scott Bailer, Vice President, Senior Managing
SPRINGLEAF FINANCE, INC.              Drector                                                                                                       CACH, LLC         Sherman Originator III LLC      $0.00
                                      601 N.W. 2nd ST.
                                      Evansville, IN 47708
                                      Springleaf Finance, INC et al
                                      J. Scott Bailer, Vice President, Senior Managing
SPRINGLEAF FINANCE, INC.              Drector                                                                                                       CACH, LLC         Sherman Originator III LLC      $0.00
                                      601 N.W. 2nd ST.
                                      Evansville, IN 47708

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                                                         Exhibit B: Schedule of Assumed Contracts
                                                                                          Pg 35 ofand
                                                                                                    49Leases and Cure Amounts
                                                                                                      Acquired Debtors
                                                                                                                                                                                          Monetary
           Contract Counterparty                                        Address                                 Additional Notice Address(es)    Debtor        Proposed Assignee
                                                                                                                                                                                         Cure Amount
                                                  Springleaf Finance, INC et al
                                                                                                     Springleaf Finance, INC et al
                                                  J. Scott Bailer, Vice President, Senior Managing
                                                                                                     Joe Orlando
SPRINGLEAF FINANCE, INC.                          Drector                                                                                       CACH, LLC   Sherman Originator III LLC      $0.00
                                                                                                     601 N.W. 2nd Street
                                                  601 N.W. 2nd ST.
                                                                                                     Evansville, IN 47708
                                                  Evansville, IN 47708
                                                  Springleaf Finance, INC et al
                                                  J. Scott Bailer, Vice President, Senior Managing
SPRINGLEAF FINANCE, INC.                          Drector                                                                                       CACH, LLC   Sherman Originator III LLC      $0.00
                                                  601 N.W. 2nd ST.
                                                  Evansville, IN 47708
                                                  Springleaf Finance, INC et al
                                                  Joe Orlando
SPRINGLEAF FINANCE, INC.                                                                                                                        CACH, LLC   Sherman Originator III LLC      $0.00
                                                  601 N.W. Second St.
                                                  Evansville, IN 47708
                                                  Springleaf Finance, INC et al
                                                  Troy Hartsell, Sr. Group Manager, Collections
SPRINGLEAF FINANCE, INC.                                                                                                                        CACH, LLC   Sherman Originator III LLC      $0.00
                                                  601 N.W. 2nd ST.
                                                  Evansville, IN 47708
                                                  Springleaf Finance, Inc.
                                                  Joe Orlando
SPRINGLEAF FINANCE, INC.                                                                                                                        CACH, LLC   Sherman Originator III LLC      $0.00
                                                  601 N.W. 2nd ST.
                                                  Evansville, IN 47708
                                                  SpringCastle America Funding Trust et al
                                                  John Anderson
SPRINGLEAF FINANCIAL                                                                                                                            CACH, LLC   Sherman Originator III LLC      $0.00
                                                  601 NW Second Street
                                                  Evansville, IN 47708
                                                  SpringCastle America Funding Trust et al
                                                  John Anderson
SPRINGLEAF FINANCIAL                                                                                                                            CACH, LLC   Sherman Originator III LLC      $0.00
                                                  601 NW Second Street
                                                  Evansville, IN 47708
                                                  SpringCastle America Funding Trust et al
                                                  John Anderson
SPRINGLEAF FINANCIAL                                                                                                                            CACH, LLC   Sherman Originator III LLC      $0.00
                                                  601 NW Second Street
                                                  Evansville, IN 47708
                                                  SpringCastle America Funding Trust et al
                                                  John Anderson
SPRINGLEAF FINANCIAL                                                                                                                            CACH, LLC   Sherman Originator III LLC      $0.00
                                                  601 NW Second Street
                                                  Evansville, IN 47708
                                                  SpringCastle America Funding Trust
SPRINGLEAF FINANCIAL                              601 NW Second Street                                                                          CACH, LLC   Sherman Originator III LLC      $0.00
                                                  Evansville, IN 47708
                                                  Springleaf Finance INC et al
                                                  J. Scott Bailer- Senior Managing Director
SPRINGLEAF FINANCIAL                                                                                                                            CACH, LLC   Sherman Originator III LLC      $0.00
                                                  601 N.W. 2nd ST.
                                                  Evansville, IN 47708
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                                                                                          Pg 36 ofand
                                                                                                    49Leases and Cure Amounts
                                                                                                      Acquired Debtors
                                                                                                                                                                                         Monetary
           Contract Counterparty                                        Address                                Additional Notice Address(es)    Debtor        Proposed Assignee
                                                                                                                                                                                        Cure Amount
                                                  Springleaf Finance INC et al
                                                  J. Scott Bailer, Vice President, Senior Managing
SPRINGLEAF FINANCIAL                              Director                                                                                     CACH, LLC   Sherman Originator III LLC      $0.00
                                                  601 N.W. 2nd ST.
                                                  Evansville, IN 47708
                                                  Springleaf Finance INC
                                                  J. Scott Bailer- Senior Managing Director
SPRINGLEAF FINANCIAL                                                                                                                           CACH, LLC   Sherman Originator III LLC      $0.00
                                                  601 N.W. 2nd ST.
                                                  Evansville, IN 47708
                                                  Springleaf Finance, INC et al
                                                  J. Scott Bailer, Vice President, Senior Managing
SPRINGLEAF FINANCIAL                              Director                                                                                     CACH, LLC   Sherman Originator III LLC      $0.00
                                                  601 N.W. 2nd ST.
                                                  Evansville, IN 47708
                                                  Springleaf Financial Services of Indiana, Inc.
                                                  David P. Hogan, Senior Vice President
SPRINGLEAF FINANCIAL                                                                                                                           CACH, LLC   Sherman Originator III LLC      $0.00
                                                  601 N.W. 2nd ST.
                                                  Evansville, IN 47708
                                                  Springleaf Financial Services of Indiana, Inc.
                                                  David P. Hogan, Senior Vice President
SPRINGLEAF FINANCIAL                                                                                                                           CACH, LLC   Sherman Originator III LLC      $0.00
                                                  601 N.W. 2nd ST.
                                                  Evansville, IN 47708
                                                                                                     Synchrony Bank
                                                                                                     General Counsel
                                                                                                     777 Long Ridge Road
                                                                                                     Stamford, CT 06902
                                                  SYNCHRONY BANK
SYNCHRONY BANK                                    950 Forrer Blvd                                    and                                       CACH, LLC   Sherman Originator III LLC      $0.00
                                                  Kettering, OH 45420
                                                                                                     Synchrony Bank
                                                                                                     Manager, Recovery Sales,
                                                                                                     950 Forrer Blvd
                                                                                                     Stamford, CT 06902
                                                                                                     Synchrony Bank
                                                                                                     General Counsel
                                                                                                     777 Long Ridge Road
                                                                                                     Stamford, CT 06902
                                                  SYNCHRONY BANK
SYNCHRONY BANK                                    P.O. Box 965033                                    and                                       CACH, LLC   Sherman Originator III LLC      $0.00
                                                  Orlando, FL 32896
                                                                                                     Synchrony Bank
                                                                                                     Manager, Recovery Sales
                                                                                                     950 Forrer Blvd
                                                                                                     Stamford , CT 06902

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                                                                                          Pg 37 ofand
                                                                                                    49Leases and Cure Amounts
                                                                                                        Acquired Debtors
                                                                                                                                                                                             Monetary
           Contract Counterparty                                         Address                                  Additional Notice Address(es)          Debtor         Proposed Assignee
                                                                                                                                                                                            Cure Amount
                                                  TD Financing Services, Inc                           TD Financial Services, Inc
                                                  c/o TD Financial Services, Inc.                      Kevin Glidden
                                                                                                                                                     Preferred Credit
TD Financing Services, Inc                        PO Box 4086 Station A                                PO Box 4086 Station A                                                  N/A              $0.00
                                                                                                                                                    Resources Limited
                                                  Toronto, ON M5W 5K3                                  Toronto, ON M5W 5K3
                                                  Canada                                               Canada
                                                  TD Financing Services, Inc
                                                  Kevin Glidden
                                                  c/o TD Financial Services, Inc.                                                                    Preferred Credit
TD Financing Services, Inc                                                                                                                                                    N/A              $0.00
                                                  PO Box 4086 Station A                                                                             Resources Limited
                                                  Toronto, ON M5W 5K3
                                                  Canada
                                                                                                       TD Financial Services, Inc.
                                                  TD Financing Services, Inc
                                                                                                       Kevin Glidden
                                                  PO Box 4086 Station A                                                                              Preferred Credit
TD Financing Services, Inc                                                                             PO Box 4086 Station A                                                  N/A              $0.00
                                                  Toronto, ON M5W 5K3                                                                               Resources Limited
                                                                                                       Toronto, ON M5W 5K3
                                                  Canada
                                                                                                       Canada
                                                                                                       TD Financial Services, Inc.
                                                  TD Financing Services, Inc
                                                                                                       Kevin Glidden
                                                  PO Box 4086 Station A                                                                              Preferred Credit
TD Financing Services, Inc                                                                             PO Box 4086 Station A                                                  N/A              $0.00
                                                  Toronto, ON M5W 5K3                                                                               Resources Limited
                                                                                                       Toronto, ON M5W 5K3
                                                  Canada
                                                                                                       Canada
                                                  Bank of Nova Scotia                                  Bank of Nova Scotia
                                                  Michael Stecknicki, Director, Domestic Collections   Paul Akey, Vice President, Risk Management
                                                  20 Queen Street West                                 20 Queen Street West                          Preferred Credit
The Bank Of Nova Scotia                                                                                                                                                       N/A              $0.00
                                                  24th Floor                                           24th Floor                                   Resources Limited
                                                  Toronto, ON M5H 3R3                                  Toronto, ON M5H 3R3
                                                  Canada                                               Canada
                                                                                                       THE CANADA TRUST COMPANY
                                                                                                       Asher Shaikh
                                                                                                       c/o The Toronto-Dominion Bank
                                                                                                       Collections & Recovery
                                                                                                       3500 Steeles Avenue, 4th Floor Tower 1
                                                  The Toronto-Dominion Bank                            Markham, ON M5K 1A2
                                                  Asher Shaikh                                         Canada
                                                  Collections & Recovery
                                                                                                                                                     Preferred Credit
The Toronto-Dominion Bank                         3500 Steeles Avenue                                  and                                                                    N/A              $0.00
                                                                                                                                                    Resources Limited
                                                  4th Floor Tower 1
                                                  Markham, ON M5K 1A2                                  The Toronto-Dominion Bank
                                                  Canada                                               Jarvis Hetu
                                                                                                       Collections & Recovery
                                                                                                       3500 Steeles Avenue
                                                                                                       4th Floor Tower 1
                                                                                                       Markham, ON M5K 1A2
                                                                                                       Canada
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                                                                                          Pg 38 ofand
                                                                                                    49Leases and Cure Amounts
                                                                                     Acquired Debtors
                                                                                                                                                                                  Monetary
           Contract Counterparty                                      Address                 Additional Notice Address(es)         Debtor             Proposed Assignee
                                                                                                                                                                                 Cure Amount
                                         The Toronto-Dominion Bank                  The Toronto-Dominion Bank
                                         Credit and Loss Prevention Executive       Legal Department - MBNA Division
                                                                                                                               Preferred Credit
The Toronto-Dominion Bank                1600 James Naismith Drive                  1600 James Naismith Drive                                                  N/A                  $0.00
                                                                                                                              Resources Limited
                                         Ottawa, ON K1B 5NB                         Ottawa, ON K1B 5NB
                                         Canada                                     Canada
                                         The Toronto-Dominion Bank                  The Toronto-Dominion Bank
                                         Credit and Loss Prevention Executive       Legal Department - MBNA Division
                                                                                                                               Preferred Credit
The Toronto-Dominion Bank                1600 James Naismith Drive                  1600 James Naismith Drive                                                  N/A                  $0.00
                                                                                                                              Resources Limited
                                         Ottawa, ON K1B 5NB                         Ottawa, ON K1B 5NB
                                         Canada                                     Canada
                                         TransUnion
                                         3115 Harvester Road, Suite 201
TransUnion Canada                                                                                                              CCL Financial Inc.              N/A                  $0.00
                                         Burlington, ON L7N 3NB
                                         Canada
                                         Veritas Alliance Corporation
                                         Attn: Lisa Drynan, President
                                                                                                                               Preferred Credit
Veritas Alliance Corporation             1515 Matheson Blvd East, Unit 104                                                                                     N/A                  $0.00
                                                                                                                              Resources Limited
                                         Mississauga, ON L4W 2P5
                                         Canada
                                         Wells Fargo Financial Corporation Canada
                                                                                    Wells Fargo Bank, N.A.
                                         General Counsel
                                                                                    General Counsel
                                         55 Standish Court                                                                     Preferred Credit
Wells Fargo Financial Corporation Canada                                            MAC# X2401-06T                                                             N/A                  $0.00
                                         Suite 300                                                                            Resources Limited
                                                                                    1 Home Campus
                                         Mississauga, ON L5R 4J4
                                                                                    Des Moines, IA 50328
                                         Canada
                                                                                    WEX Bank
                                                                                    General Counsel
                                                                                    97 Darling Avenue
                                                                                    South Portland, ME 04106
                                                  WEX Bank
                                                                                    and                                         CACH, LLC d/b/a
WEX BANK                                          97 Darling Avenue                                                                                 Sherman Originator III LLC      $0.00
                                                                                                                              Fresh View Funding
                                                  South Portland, ME 04106
                                                                                    WEX Bank
                                                                                    Director
                                                                                    97 Darling Avenue
                                                                                    South Portland, ME 04106




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                                      EXHIBIT C

                             Assumption and Cure Schedule
                    (Contracts and leases anticipated to be assumed or
                 assumed and assigned by and/or to a Dissolving Debtor)
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                                             Exhibit C: Schedule of Assumed Contracts
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                                                                                       49 Leases and Cure Amounts
                                                                              Wind Down Co Debtors
                                                                                                                                                            Monetary
         Contract Counterparty                                   Address                           Additional Notice Address(es)           Debtor
                                                                                                                                                           Cure Amount
                                            ACUMEN SOLUTIONS GROUP
                                                                                                                                    SquareTwo Financial
 ACUMEN SOLUTIONS GROUP                     600 BROADHOLLOW ROAD, SUITE 200                                                                                   $0.00
                                                                                                                                       Corporation
                                            MELVILLE, NY 11747
                                            ADP                                               ADP
                                            ATTN: ADP WFN COMPREHENSIVE SERVICES SVP/GM       ATTN: LEGAL DEPARTMENT                SquareTwo Financial
 ADP                                                                                                                                                          $0.00
                                            5800 WINDWARD PARKWAY                             ONE ADP BLVD                             Corporation
                                            ALPHARETTE, GA 30005                              ROSELAND, NJ 7068

                                            AIG-ILLINOIS NATHIONAL INSURANCE COMPANY
 AIG-ILLINOIS NATHIONAL                                                                                                              SquareTwo Financial
                                            175 WATER STREET                                                                                                  $0.00
 INSURANCE COMPANY                                                                                                                      Corporation
                                            NEW YORK, NY 10038-4969

                                            AIG-ILLINOIS NATHIONAL INSURANCE COMPANY
 AIG-ILLINOIS NATHIONAL                                                                                                              SquareTwo Financial
                                            175 WATER STREET                                                                                                  $0.00
 INSURANCE COMPANY                                                                                                                      Corporation
                                            NEW YORK, NY 10038-4969
                                            ASPEN SPECIALITY INS. CO
                                                                                                                                    SquareTwo Financial
 ASPEN SPECIALITY INS. CO                   590 MADISON AVENUE, 7TH FLOOR                                                                                     $0.00
                                                                                                                                       Corporation
                                            NEW YORK, NY 10022
                                                                                              AT&T CORP.
                                            AT&T
                                                                                              ATTN: MASTER AGREEMENT SUPPORT
 AT&T #1 (AT&T MPLS NETWORK                 ATTN: ANGELA BAHR                                                                       SquareTwo Financial
                                                                                              TEAM                                                            $0.00
 (CORP))                                    1355 W UNIVERSITY DRIVE                                                                    Corporation
                                                                                              ONE AT&T WAY
                                            MESA, AZ 85201
                                                                                              BEDMINSTER, NJ 07921-0752
                                                                                              AT&T CORP.
                                            AT&T
                                                                                              ATTN: MASTER AGREEMENT SUPPORT
 AT&T #2 (MPLS NETWORK                      ATTN: ANGELA BAHR                                                                       SquareTwo Financial
                                                                                              TEAM                                                            $0.00
 (FRANCHISE))                               1355 W UNIVERSITY DRIVE                                                                    Corporation
                                                                                              ONE AT&T WAY
                                            MESA, AZ 85201
                                                                                              BEDMINSTER, NJ 07921-0752
                                                                                              AT&T CORP.
                                            AT&T
                                                                                              ATTN: MASTER AGREEMENT SUPPORT
                                            ATTN: ANGELA BAHR                                                                       SquareTwo Financial
 AT&T #3 (ANIRA BACKUP)                                                                       TEAM                                                            $0.00
                                            1355 W UNIVERSITY DRIVE                                                                    Corporation
                                                                                              ONE AT&T WAY
                                            MESA, AZ 85201
                                                                                              BEDMINSTER, NJ 07921-0752




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                                                                                       49 Leases and Cure Amounts
                                                                            Wind Down Co Debtors
                                                                                                                                                           Monetary
         Contract Counterparty                                    Address                         Additional Notice Address(es)          Debtor
                                                                                                                                                          Cure Amount
                                                                                             AT&T CORP.
                                            AT&T
                                                                                             ATTN: MASTER AGREEMENT SUPPORT
 AT&T #4 (AT&T MPLS NETWORK                 ATTN: ANGELA BAHR                                                                      SquareTwo Financial
                                                                                             TEAM                                                            $0.00
 (LIVEVOX)                                  1355 W UNIVERSITY DRIVE                                                                   Corporation
                                                                                             ONE AT&T WAY
                                            MESA, AZ 85201
                                                                                             BEDMINSTER, NJ 07921-0752
                                                                                             AT&T CORP.
                                            AT&T
 AT&T [831-000-0801 002] #1                                                                  ATTN: MASTER AGREEMENT SUPPORT
                                            ATTN: ANGELA BAHR                                                                      SquareTwo Financial
 (MANAGED INTERNET SERVICE -                                                                 TEAM                                                            $0.00
                                            1355 W UNIVERSITY DRIVE                                                                   Corporation
 MONACO --> S. SYRACUSE)                                                                     ONE AT&T WAY
                                            MESA, AZ 85201
                                                                                             BEDMINSTER, NJ 07921-0752
                                                                                             AT&T CORP.
                                            AT&T
 AT&T [831-000-0801 002] #2                                                                  ATTN: MASTER AGREEMENT SUPPORT
                                            ATTN: ANGELA BAHR                                                                      SquareTwo Financial
 (MANAGED INTERNET SERVICE -                                                                 TEAM                                                            $0.00
                                            1355 W UNIVERSITY DRIVE                                                                   Corporation
 OVERLAND PARK)                                                                              ONE AT&T WAY
                                            MESA, AZ 85201
                                                                                             BEDMINSTER, NJ 07921-0752
                                                                                             AT&T CORP.
                                            AT&T
                                                                                             ATTN: MASTER AGREEMENT SUPPORT
                                            ATTN: ANGELA BAHR                                                                      SquareTwo Financial
 AT&T ENTERPRISE HOSTING [LISLE]                                                             TEAM                                                            $0.00
                                            1355 W UNIVERSITY DRIVE                                                                   Corporation
                                                                                             ONE AT&T WAY
                                            MESA, AZ 85201
                                                                                             BEDMINSTER, NJ 07921-0752
                                                                                                                                   SquareTwo Financial
                                            CARA ROHDE
                                                                                                                                   Services Corporation
 CARA ROHDE                                 1876 HORSE CREEK RD                                                                                              $0.00
                                                                                                                                     d/b/a Fresh View
                                            CHEYENNE, WY 82009
                                                                                                                                         Solutions
                                            CIGNA
                                            8505 EAST ORCHARD RD                                                                   SquareTwo Financial
 CIGNA DENTAL                                                                                                                                                $0.00
                                            TOWER 1                                                                                   Corporation
                                            GREENWOOD VILLAGE, CO 80111




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                                                                                       49 Leases and Cure Amounts
                                                                        Wind Down Co Debtors
                                                                                                                                                       Monetary
         Contract Counterparty                                Address                          Additional Notice Address(es)          Debtor
                                                                                                                                                      Cure Amount
                                                                                         CIGNA
                                                                                         ATTN: GENERAL COUNSEL
                                 CIGNA HEALTH AND LIFE INSURANCE COMPANY                 8505 EAST ORCHARD ROAD
                                 CONNOLLY GALLAGHER LLP                                  GREENWOOD VILLAGE, CO 80111
 CIGNA HEALTH AND LIFE INSURANCE JEFFREY C. WISLER                                                                              SquareTwo Financial
                                                                                                                                                         $0.00
 COMPANY                         THE BRANDYWINE BUILDING                                 AND                                       Corporation
                                 1000 WEST STREET, SUITE 1400
                                 WILMINGTON, DE 19801                                    CIGNA HEALTHCARE
                                                                                         2675 N MAYFAIR RD, #210A
                                                                                         MILWAUKEE, WI 53226
                                                                                         CIGNA
                                                                                         ATTN: GENERAL COUNSEL
                                 CIGNA HEALTH AND LIFE INSURANCE COMPANY                 8505 EAST ORCHARD ROAD
                                 CONNOLLY GALLAGHER LLP                                  GREENWOOD VILLAGE, CO 80111
 CIGNA HEALTH AND LIFE INSURANCE JEFFREY C. WISLER                                                                              SquareTwo Financial
                                                                                                                                                         $0.00
 COMPANY                         THE BRANDYWINE BUILDING                                 AND                                       Corporation
                                 1000 WEST STREET, SUITE 1400
                                 WILMINGTON, DE 19801                                    CIGNA HEALTHCARE
                                                                                         2675 N MAYFAIR RD, #210A
                                                                                         MILWAUKEE, WI 53226
                                                                                         CIGNA
                                                                                         ATTN: GENERAL COUNSEL
                                 CIGNA HEALTH AND LIFE INSURANCE COMPANY                 8505 EAST ORCHARD ROAD
                                 CONNOLLY GALLAGHER LLP                                  GREENWOOD VILLAGE, CO 80111
 CIGNA HEALTH AND LIFE INSURANCE JEFFREY C. WISLER                                                                              SquareTwo Financial
                                                                                                                                                         $0.00
 COMPANY                         THE BRANDYWINE BUILDING                                 AND                                       Corporation
                                 1000 WEST STREET, SUITE 1400
                                 WILMINGTON, DE 19801                                    CIGNA HEALTHCARE
                                                                                         2675 N MAYFAIR RD, #210A
                                                                                         MILWAUKEE, WI 53226




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                                                                                       49 Leases and Cure Amounts
                                                                             Wind Down Co Debtors
                                                                                                                                                               Monetary
         Contract Counterparty                                   Address                              Additional Notice Address(es)          Debtor
                                                                                                                                                              Cure Amount
                                                                                                CIGNA
                                                                                                ATTN: GENERAL COUNSEL
                                 CIGNA HEALTH AND LIFE INSURANCE COMPANY                        8505 EAST ORCHARD ROAD
                                 CONNOLLY GALLAGHER LLP                                         GREENWOOD VILLAGE, CO 80111
 CIGNA HEALTH AND LIFE INSURANCE JEFFREY C. WISLER                                                                                     SquareTwo Financial
                                                                                                                                                                 $0.00
 COMPANY                         THE BRANDYWINE BUILDING                                        AND                                       Corporation
                                 1000 WEST STREET, SUITE 1400
                                 WILMINGTON, DE 19801                                           CIGNA HEALTHCARE
                                                                                                2675 N MAYFAIR RD, #210A
                                                                                                MILWAUKEE, WI 53226
                                            CIGNA
                                            8505 EAST ORCHARD RD                                                                       SquareTwo Financial
 CIGNA MEDICAL                                                                                                                                                   $0.00
                                            TOWER 1                                                                                       Corporation
                                            GREENWOOD VILLAGE, CO 80111
                                            CIGNA
                                            8505 EAST ORCHARD RD                                                                       SquareTwo Financial
 CIGNA VISION                                                                                                                                                    $0.00
                                            TOWER 1                                                                                       Corporation
                                            GREENWOOD VILLAGE, CO 80111
                                            VOYA FINANCIAL                                      RELIASTAR LIFE INSURANCE COMPANY
                                            8055 EAST TUFTS AVE                                 HOME AND ADMINISTRATIVE OFFICE         SquareTwo Financial
 COMPSYCH / FLMASOURCE                                                                                                                                           $0.00
                                            SUITE 710-STANFORD 1                                P.O. BOX 20                               Corporation
                                            DENVER, CO 80237                                    MINNEAPOLIS, MN 55401
                                            CONCUR TECHNOLOGIES, INC.
                                            ATTN: CHIEF LEGAL OFFICER                                                                  SquareTwo Financial
 CONCUR                                                                                                                                                        $1,529.00
                                            18400 N.E. UNION HILL ROAD                                                                    Corporation
                                            REDMOND, WA 98052
                                            CORNERSTONE ONDEMAND                                CORNERSTONE ONDEMAND
                                            CORPORATE HEADQUARTERS                              795 FOLSOM STREET                      SquareTwo Financial
 CORNERSTONE ONDEMAND                                                                                                                                            $0.00
                                            1601 CLOVERFIELD BLVD, SUITE 600 SOUTH              SUITE 1069                                Corporation
                                            SANTA MONICA, CA 90404                              SAN FRANCISCO, CA 94107
                                            CORNERSTONE SUPPORT, INC                                                                   SquareTwo Financial
 CORNERSTONE SUPPORT, INC
                                            70 MANSELL COURT                                                                           Services Corporation
 (ROBERT PIERSON - RESIDENT                                                                                                                                      $0.00
                                            SUITE 250                                                                                    d/b/a Fresh View
 MANAGER)
                                            ROSWELL, GA 30076                                                                                Solutions




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                                                                                       49 Leases and Cure Amounts
                                                                          Wind Down Co Debtors
                                                                                                                                                        Monetary
         Contract Counterparty                                 Address                          Additional Notice Address(es)          Debtor
                                                                                                                                                       Cure Amount
                                CT CORPORATION
 CT CORPORATION - ANNUAL REPORT ATTN: GENERAL MANAGER                                                                            SquareTwo Financial
                                                                                                                                                          $0.00
 SERVICE                        ONE CORPORATE CENTER, 11TH FLOOR                                                                    Corporation
                                HARTFORD, CT 06103
                                CT CORPORATION
 CT CORPORATION (AGENT SERVICE ATTN: GENERAL MANAGER                                                                             SquareTwo Financial
                                                                                                                                                          $0.00
 AND EXCESS FEES)               ONE CORPORATE CENTER, 11TH FLOOR                                                                    Corporation
                                HARTFORD, CT 06103
                                            FEDERAL INSURANCE COMPANY
                                            C/O CHUBB GROUP OF INSURANCE COMPANIES                                               SquareTwo Financial
 FEDERAL INSURANCE COMPANY                                                                                                                                $0.00
                                            15 MOUNTAIN VIEW ROAD                                                                   Corporation
                                            WARREN, NJ 07059
                                            FEDERAL INSURANCE COMPANY
                                            C/O CHUBB GROUP OF INSURANCE COMPANIES                                               SquareTwo Financial
 FEDERAL INSURANCE COMPANY                                                                                                                                $0.00
                                            15 MOUNTAIN VIEW ROAD                                                                   Corporation
                                            WARREN, NJ 07059
                                            FEDERAL INSURANCE COMPANY
                                            C/O CHUBB GROUP OF INSURANCE COMPANIES                                               SquareTwo Financial
 FEDERAL INSURANCE COMPANY                                                                                                                                $0.00
                                            15 MOUNTAIN VIEW ROAD                                                                   Corporation
                                            WARREN, NJ 07059
                                            FEDERAL INSURANCE COMPANY
                                            C/O CHUBB GROUP OF INSURANCE COMPANIES                                               SquareTwo Financial
 FEDERAL INSURANCE COMPANY                                                                                                                                $0.00
                                            15 MOUNTAIN VIEW ROAD                                                                   Corporation
                                            WARREN, NJ 07059
                                            FIFTH THIRD BANK
                                                                                                                                 SquareTwo Financial
 FIFTH THIRD BANK                           222 SOUTH RIVERSIDE PLAZA                                                                                     $0.00
                                                                                                                                    Corporation
                                            CINCINNATI, OH 45263
                                            GLOBALONEPAY
                                            ATTN: LOYALTY DEPARTMENT
                                                                                                                                 SquareTwo Financial
 GLOBALONEPAY                               5000 LEGACY DRIVE                                                                                             $0.00
                                                                                                                                    Corporation
                                            SUITE 320
                                            PLANO, TX 75024
                                            GREAT NORTHERN INSURANCE COMPANY
 GREAT NORTHERN INSURANCE                   C/O CHUBB GROUP OF INSURANCE COMPANIES                                               SquareTwo Financial
                                                                                                                                                          $0.00
 COMPANY                                    15 MOUNTAIN VIEW ROAD                                                                   Corporation
                                            WARREN, NJ 07059
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                                                                                       49 Leases and Cure Amounts
                                                                            Wind Down Co Debtors
                                                                                                                                                          Monetary
         Contract Counterparty                                    Address                        Additional Notice Address(es)          Debtor
                                                                                                                                                         Cure Amount
                             GREENWICH INSURANCE COMPANY
                             C/O XL GROUP INSURANCE                                                                               SquareTwo Financial
 GREENWICH INSURANCE COMPANY                                                                                                                                $0.00
                             505 EAGLEVIEW BLVD, STE. 100                                                                            Corporation
                             EXTON, PA 19341-1120
                             HEALTH ADVOCATE, INC.
                             ATTN: DAVID S. ROCCHINO, EVP AND CHIEF SALES
                                                                                                                                  SquareTwo Financial
 HEALTH ADVOCATE INC         OFFICER                                                                                                                        $0.00
                                                                                                                                     Corporation
                             3043 WALTON ROAD, SUITE 150
                             PLYMOUTH MEETING, PA 19462
                             IMA, INC.
                             ATTN: JOHN KIRKE                                                                                     SquareTwo Financial
 IMA, INC (BENEFITS)                                                                                                                                        $0.00
                             1705 17TH STREET, SUITE 100                                                                             Corporation
                             DENVER, CO 80202
                             IMA, INC.
                             ATTN: JOHN KIRKE                                                                                     SquareTwo Financial
 IMA, INC (CORPORATE)                                                                                                                                       $0.00
                             1705 17TH STREET, SUITE 100                                                                             Corporation
                             DENVER, CO 80202
                                            IRON MOUNTAIN INFORMATION MANAGEMENT INC.
                                            ATTN: DERRICK WOLFE, GENERAL MANAGER                                                  SquareTwo Financial
 IRON MOUNTAIN                                                                                                                                             $359.07
                                            5050 MOLINE STREET                                                                       Corporation
                                            DENVER, CO 80239
                                                                                                                                  SquareTwo Financial
                                            KIRK ROHDE
                                                                                                                                  Services Corporation
 KIRK ROHDE                                 1876 HORSE CREEK RD                                                                                             $0.00
                                                                                                                                    d/b/a Fresh View
                                            CHEYENNE, WY 82009
                                                                                                                                        Solutions
                                            KYRIBA CORPORATION
                                            ATTN: LIBBY HALLORAN, CTP                                                             SquareTwo Financial
 KYRIBA                                                                                                                                                     $0.00
                                            111 BROADWAY, SUIE 1802                                                                  Corporation
                                            NEW YORK, NY 10006
                                            LEVEL3 COMMUNICATIONS
                                                                                                                                  SquareTwo Financial
 LEVEL 3                                    1025 ELDORADO BLVD                                                                                              $0.00
                                                                                                                                     Corporation
                                            BROOMFIELD, CO 80021




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                                                                           Wind Down Co Debtors
                                                                                                                                                           Monetary
         Contract Counterparty                                   Address                          Additional Notice Address(es)          Debtor
                                                                                                                                                          Cure Amount
                                            THE LINCOLN NATIONAL LIFE INSURANCE COMPANY
                                            GROUP INSURANCE SERVICE OFFICE                                                         SquareTwo Financial
 LINCOLN FINANCIAL GROUP                                                                                                                                     $0.00
                                            8801 INDIAN HILLS DRIVE                                                                   Corporation
                                            OMAHA, NE 68114-4066
                                            LIVEVOX                                          LIVEVOX
                                            655 MONTGOMERY ST.                               330 WEST 38TH STREET                  SquareTwo Financial
 LIVEVOX, INC                                                                                                                                              $24,346.00
                                            STE. 1                                           10TH FLOOR                               Corporation
                                            SAN FRANCISCO, CA 94111                          NEW YORK, NY 10018
                                                                                             MAILFINANCE
                                            MAILFINANCE
                                                                                             DEPT 3682                             SquareTwo Financial
 MAILFINANCE / NEOPOST                      478 WHEELERS FARM ROAD                                                                                           $0.00
                                                                                             PO BOX 123682                            Corporation
                                            MILFORD, CT 06461
                                                                                             DALLAS, TX 75312-3682
                                            MICROSOFT CORPORATION
                                            C/O BANK OF AMERICA                              SOFTWARE ONE, INC.
                                                                                                                                   SquareTwo Financial
 MICROSOFT CORPORATION                      1950 N STEMMONS FWY STE 5010                     P.O. BOX 510944                                               $36,111.25
                                                                                                                                      Corporation
                                            LB #842467                                       NEW BERLIN, WI 53151-0944
                                            DALLAS, TX 75207
                                            NAVIGATORS INSURANCE UNDERWRTING AGENCY
                                            LIMITED
 NAVIGATORS INSURANCE                       2 MINCING LANE                                                                         SquareTwo Financial
                                                                                                                                                             $0.00
 UNDERWRTING AGENCY LIMITED                 4TH FLOOR                                                                                 Corporation
                                            LONDON EC3R 7BB
                                            UNITED KINGDOM
                                            OLD REPUBLIC SURETY COMPANY
                                            3900 S. WADSWORTH BOULEVARD                                                            SquareTwo Financial
 OLD REPUBLIC SURETY COMPANY                                                                                                                                 $0.00
                                            SUITE 580                                                                                 Corporation
                                            LAKEWOOD, CO 80235
                                            OLD REPUBLIC SURETY COMPANY                                                            SquareTwo Financial
                                            3900 S. WADSWORTH BOULEVARD                                                            Services Corporation
 OLD REPUBLIC SURETY COMPANY                                                                                                                                 $0.00
                                            SUITE 580                                                                                d/b/a Fresh View
                                            LAKEWOOD, CO 80235                                                                           Solutions
                                            OPTUM BANK
                                                                                                                                   SquareTwo Financial
 OPTUM HEALTH                               2771 MOMENTUM PLACE                                                                                              $0.00
                                                                                                                                      Corporation
                                            CHICAGO, IL 60689-5327

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                                                                           Wind Down Co Debtors
                                                                                                                                                             Monetary
         Contract Counterparty                                  Address                           Additional Notice Address(es)             Debtor
                                                                                                                                                            Cure Amount
                                            ORACLE AMERICA, INC.
                                                                                                                                      SquareTwo Financial
 ORACLE AMERICA, INC.                       500 ORACLE PARKWAY                                                                                               $42,598.06
                                                                                                                                         Corporation
                                            REDWOOD SHORES, CA 94065
                                            PHIN SOLUTIONS, INC.
                                            TODD HINRICHS, PRESIDENT
                                                                                                                                      SquareTwo Financial
 PHIN SOLUTIONS, INC.                       14245 ST FRANCIS BLVD                                                                                              $0.00
                                                                                                                                         Corporation
                                            SUITE 105
                                            RAMSEY, MN 55303
                                            PINNACOL ASSURANCE                              ARTHUR J. GALLAGHER & CO. - DENVER
                                                                                                                                      SquareTwo Financial
 PINNACOL ASSURANCE                         7501 E. LOWRY BLVD                              6399 S. FIDLERS GREEN CIRCLE, SUITE 200                          $2,322.49
                                                                                                                                         Corporation
                                            DENVER, CO 80230-7006                           GREENWOOD VILLAGE, CO 80111
                                PINNACOL ASSURANCE
                                                                                                                                      SquareTwo Financial
 PINNACOL ASSURANCE             7501 E. LOWRY BLVD.                                                                                                            $0.00
                                                                                                                                         Corporation
                                DENVER, CO 80230-7006
                                QBE INSURANCE
                                C/O CT CORPORATION SYSTEM                                                                             SquareTwo Financial
 QBE INSURANCE                                                                                                                                                 $0.00
                                116 PINE STREET, SUTIE 320                                                                               Corporation
                                HARRISBURG, PA 17101
                                RELIASTAR LIFE INSURANCE COMPANY
                                HOME AND ADMINISTRATIVE OFFICE                                                                        SquareTwo Financial
 RELIASTAR LIFE INSURANCE CO                                                                                                                                   $0.00
                                20 WASHINGTON AVENUE SOUTH                                                                               Corporation
                                MINNEAPOLIS, MN 55401
                                REVSPRING INC
 REVSPRING INC - LETTERING AND  ATTN: LEGAL / CONTRACT MANAGEMENT                                                                     SquareTwo Financial
                                                                                                                                                               $0.00
 POSTAGE                        29241 BECK RD                                                                                            Corporation
                                WIXOM, MI 48393
                                REVSPRING INC
                                ATTN: LEGAL / CONTRACT MANAGEMENT                                                                     SquareTwo Financial
 REVSPRING INC - PAYMENT PORTAL                                                                                                                                $0.00
                                29241 BECK RD                                                                                            Corporation
                                WIXOM, MI 48393
                                ROCKY MOUNTAIN RESERVE
                                1221 W. MINERAL AVENUE                                                                                SquareTwo Financial
 ROCKY MOUNTAIN RESERVE                                                                                                                                        $0.00
                                SUITE 202                                                                                                Corporation
                                LITTLETON, CO 80120



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                                                                                       49 Leases and Cure Amounts
                                                                              Wind Down Co Debtors
                                                                                                                                                             Monetary
         Contract Counterparty                                    Address                            Additional Notice Address(es)          Debtor
                                                                                                                                                            Cure Amount
                                            SALESFORCE.COM, INC.
                                                                                                SALESFORCE.COM INC
                                            THE LANDMARK AT ONE MARKET                                                                SquareTwo Financial
 SALESFORCE.COM                                                                                 P.O. BOX 203141                                                $0.00
                                            SUITE 300                                                                                    Corporation
                                                                                                DALLAS, TX 75320-3141
                                            SAN FRANCISCO, CA 94105
                                            STAPLES CONTRACT & COMMERCIAL, INC.
                                                                                                                                      SquareTwo Financial
 STAPLES ADVANTAGE                          500 STAPLES DRIVE                                                                                                  $0.00
                                                                                                                                         Corporation
                                            FRAMINGHAM, MA 01702
                                            STARR INDEMITY
                                            STARR INDEMITY & LIABILTY COMPANY
                                                                                                                                      SquareTwo Financial
 STARR INDEMITY                             ATTN: FINANICAL LINES DEPARTMENT                                                                                   $0.00
                                                                                                                                         Corporation
                                            399 PARK AVE. 8TH FLOOR
                                            NEW YORK, NY 10022
                                            STARR INDEMITY
                                            STARR INDEMITY & LIABILTY COMPANY
                                                                                                                                      SquareTwo Financial
 STARR INDEMITY                             ATTN: FINANICAL LINES DEPARTMENT                                                                                   $0.00
                                                                                                                                         Corporation
                                            399 PARK AVE. 8TH FLOOR
                                            NEW YORK, NY 10022
                                            TOTAL ADMINISTRATIVE SERVICE CORPORATION
                                                                                                                                      SquareTwo Financial
 TASC - ERISAEDGE                           2302 INTERNATIONAL LANE                                                                                            $0.00
                                                                                                                                         Corporation
                                            MADISON, WI 53704
                                            TRANS UNION LLC
 TRANSUNION LLC (CONSUMER                                                                                                             SquareTwo Financial
                                            555 WEST ADAMS STREET                                                                                              $0.00
 CREDIT BUREAU REPORTS)                                                                                                                  Corporation
                                            CHICAGO, IL 60661
                                            CT CORPORATION
                                                                                                TYMETRIX, INC.
                                            ATTN: GENERAL MANAGER                                                                     SquareTwo Financial
 TYMETRIX                                                                                       20 CHURCH STREET, 14TH FL.                                     $0.00
                                            ONE CORPORATE CENTER, 11TH FLOOR                                                             Corporation
                                                                                                HARTFORD, CT 06103-3220
                                            HARTFORD, CT 06103
                                            U.S. BANK EQUIPMENT FINANCE, A DIVISION OF U.S.
 US BANK EQUIPMENT #7 (CISCO                BANK NATIONAL ASSOCIATION                                                                 SquareTwo Financial
                                                                                                                                                             $33,280.15
 UCS, CISCO ISE, 3850 & IBM 3650)           P.O. BOX 230789                                                                              Corporation
                                            PORTLAND, OR 97281
                                            USI INSURANCE SERVICES, LLC
                                            6501 SOUTH FIDDLERS GREEN CIRCLE                                                          SquareTwo Financial
 USI INSURANCE SERVICES, LLC                                                                                                                                   $0.00
                                            SUITE 100                                                                                    Corporation
                                            GREENWOOD VILLAGE, CO 80111



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                                                                                       49 Leases and Cure Amounts
                                                                               Wind Down Co Debtors
                                                                                                                                                              Monetary
         Contract Counterparty                                   Address                            Additional Notice Address(es)           Debtor
                                                                                                                                                             Cure Amount
                                            USI INSURANCE SERVICES, LLC                                                               SquareTwo Financial
                                            6501 SOUTH FIDDLERS GREEN CIRCLE                                                          Services Corporation
 USI INSURANCE SERVICES, LLC                                                                                                                                    $0.00
                                            SUITE 100                                                                                   d/b/a Fresh View
                                            GREENWOOD VILLAGE, CO 80111                                                                     Solutions
                               UXC ECLIPSE (USA) LLC
                               ATTN: ELAINE ALLEN
                                                                                                                                      SquareTwo Financial
 UXC ECLIPSE                   200 WEST 41ST STREET                                                                                                             $0.00
                                                                                                                                         Corporation
                               FLOOR 15
                               NEW YORK, NY 10036
                               VERTICAN TECHNOLOGIES, INC                                      Q-SOFT, L.L.C.
 VERTICAN TECHNOLOGIES (BRANCH                                                                                                        SquareTwo Financial
                               55 LANE RD, SUITE 21                                            4610 STATE ROUTE 159                                             $0.00
 SUPPORT& LICENSING - YGC)                                                                                                               Corporation
                               FAIRFIELD, NJ 07008                                             GLEN CARBON, IL 62034
                               VERTICAN TECHNOLOGIES, INC                                      Q-SOFT, L.L.C.
 VERTICAN TECHNOLOGIES (Q-LAW                                                                                                         SquareTwo Financial
                               55 LANE RD, SUITE 21                                            4610 STATE ROUTE 159                                             $0.00
 ANNUAL SUPPORT CONTRACT)                                                                                                                Corporation
                               FAIRFIELD, NJ 07008                                             GLEN CARBON, IL 62034
                               VIAWEST, INC.
                               ATTN: GUNNAR STINNET                                            VIAWEST COMPARK DATA CENTER
                                                                                                                                      SquareTwo Financial
 VIAWEST, INC.                 6400 S. FIDDLER'S GREEN CIRCLE                                  8636 S. PEORIA ST                                              $1,506.88
                                                                                                                                         Corporation
                               SUITE 2000                                                      ENGLEWOOD, CO 80112
                               GREENWOOD VILLAGE, CO 80111
                                                                                                                                     SquareTwo Commercial
                                            WOODS & AITKEN LLP
                                                                                                                                      Funding Corporation.
                                            301 S. 13TH STREET
 WOODS & AITKEN LLP                                                                                                                     n/k/a SquareTwo         $0.00
                                            SUITE 500
                                                                                                                                        Financial Services
                                            LINCOLN, NE 68114
                                                                                                                                           Corporation
                                            XL SPECIALTY INS CO
                                            XL PROFESSIONAL INSURACNE                                                                 SquareTwo Financial
 XL SPECIALTY INS CO                                                                                                                                            $0.00
                                            100 CONSTITUTION PLAZA, 17TH FLOOR                                                           Corporation
                                            HARTFORD, CT 06103
                                            ZURICH AMERICAN INSURANCE COMPANY
 ZURICH AMERICAN INSURANCE                  13810 FNB PARKWAY                                                                         SquareTwo Financial
                                                                                                                                                                $0.00
 COMPANY                                    PO BOX 542003                                                                                Corporation
                                            OMAHA, NE 68154




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